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            In the United States Court of Federal Claims
                             OFFICE OF SPECIAL MASTERS
                                      Filed: June 26, 2024
                            Refiled as Redacted: September 5, 2024

*************************
A.B.,                   *                           PUBLISHED
                        *
          Petitioner,   *                           No. 17-243V
                        *
v.                      *                           Special Master Nora Beth Dorsey
                        *
SECRETARY OF HEALTH     *                           Ruling on Lost Wage Eligibility;
AND HUMAN SERVICES,     *                           Hepatitis B Vaccine; Bell’s Palsy.
                        *
          Respondent.   *
                        *
*************************

Richard Gage, Richard Gage, P.C., Cheyenne, WY, for Petitioner.
Colleen Clemons Hartley, U.S. Department of Justice, Washington, DC, for Respondent.

          RULING REGARDING PETITIONER’S LOST EARNINGS CLAIM 1

I.     INTRODUCTION

        On February 21, 2017, A.B. (“Petitioner”) filed a petition for compensation under the
National Vaccine Injury Compensation Program (“Vaccine Act” or “the Program”), 42 U.S.C. §
300aa-10 et seq. (2018). 2 Petitioner alleged he suffered from Bell’s palsy as the result of a
hepatitis B vaccination he received on October 2, 2014. Petition at 1 (ECF No. 1). On


1
  When this Decision was originally filed, the undersigned advised her intent to post it on the
United States Court of Federal Claims' website, and/or at https://www.govinfo.gov/app/
collection/uscourts/national/cofc, in accordance with the E-Government Act of 2002. 44 U.S.C. §
3501 note (2018) (Federal Management and Promotion of Electronic Government Services). In
accordance with Vaccine Rule 18(b), Petitioner filed a timely motion to redact certain
information. This Decision is being reissued with the redaction of Petitioner’s name to initials.
Except for those changes and this footnote, no other substantive changes have been made. This
Decision will be posted on the court’s website, and/or at https://www.govinfo.gov/app/
collection/uscourts/national/cofc, with no further opportunity to move for redaction.
2
 The National Vaccine Injury Compensation Program is set forth in Part 2 of the National
Childhood Vaccine Injury Act of 1986, Pub. L. No. 99-660, 100 Stat. 3755, codified as amended,
42 U.S.C. §§ 300aa-10 to -34 (2018). All citations in this Ruling to individual sections of the
Vaccine Act are to 42 U.S.C. § 300aa.
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September 20, 2021, the undersigned issued a Ruling on Entitlement, finding Petitioner entitled
to compensation. Ruling on Entitlement dated Sept. 20, 2021 (ECF No. 75).

        Since that ruling, the parties have been in the damages phase of litigation, and have been
unable to resolve the appropriate amount of compensation because they disagree about whether
Petitioner is entitled to recover for a loss of earnings. The parties have submitted the issue to the
undersigned for adjudication. After a review of all the evidence, the undersigned finds that
Petitioner has proved by preponderant evidence that he is entitled to an award for loss of
earnings from October 6, 2014 to October 17, 2014. Petitioner has not proved by preponderant
evidence that he is entitled to an award of lost wages after October 17, 2014.

II.    PROCEDURAL HISTORY

        The procedural history from the filing of the petition through the Ruling on Entitlement is
set forth in that ruling and will not be repeated here. See Ruling on Entitlement at 2.

        Since the Ruling on Entitlement, the parties have engaged in damages discussions and
Petitioner has filed additional records. See Pet. Ex. 45-68. During this time, Petitioner filed four
motions to retain a damages expert to support his lost wages claim. See ECF Nos. 129, 131, 140,
158.

        Thereafter, a status conference was held on October 17, 2023. Order dated Oct. 17, 2023
(ECF No. 167). The parties agreed the issue ripe for the Court’s consideration is whether there is
evidence to support a claim for lost wages. Id. at 1. The parties agreed to brief the issue. Id.
Petitioner filed a memorandum on December 4, 2023. Pet. Memorandum Supporting Loss of
Earnings Award (“Pet. Memo.”), filed Dec. 4, 2023 (ECF No. 174). Respondent filed his
response on February 1, 2024, and Petitioner filed a reply on February 13, 2024. Resp. Response
and Objection to Pet. Claim for Lost Earnings and Retention of Potential Vocational and/or
Economic Experts (“Resp. Response”), filed Feb. 1, 2024 (ECF No. 179); Pet. Reply Supporting
Loss of Earnings Award (“Pet. Reply”), filed Feb. 13, 2024 (ECF No. 180).

       This matter is now ripe for adjudication.

III.   ISSUE TO BE DECIDED

        The sole issue to be decided is whether there is preponderant evidence to support
Petitioner’s claim for a loss of earnings award. See Order dated Oct. 17, 2023; Pet. Memo. at 9;
Resp. Response at 1.




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IV.    SUMMARY OF EVIDENCE

       A.      Summary of Medical Records

         Petitioner, a pharmacist, was 46 years of age when he received his third hepatitis B
vaccination, 3 on October 2, 2014, in his left arm. Pet. Ex. 1 at 6. Petitioner’s chiropractic
records establish that pre-vaccination, in 2013, he had a history of upper and lower back pain,
and sharp pain on the left side going down his left arm. Pet. Ex. 2 at 6. “Stress at work” and
standing for long periods aggravated his pain. Id. He also had minor occasional headaches and
seasonal allergies. Id. at 7-8. In May 2013, Petitioner rated his upper back pain a 7 out of 10,
and his lower back pain as a 10. Id. at 21. Petitioner’s prior medical history is non-contributory
as it relates to his Bell’s palsy.

         On October 6, 2014, Petitioner presented to neurologist Dr. Shahbuddin Mukardamwala,
with weakness of the left side of his face. Pet. Ex. 3 at 1. Petitioner reported that he had
received the hepatitis B vaccine the prior Thursday (October 2, 2014), and that the following
day, Friday (October 3, 2014), he had a severe headache involving the left postauricular 4 area.
Id. By Saturday (October 4, 2014), Petitioner was unable to close his left eye and he had
numbness of the left side of his face. Id. He sought treatment at a local emergency room, where
he was noted to have neuropathic pain. Pet. Ex. 7 at 2. Petitioner denied having any urinary
tract infection, upper respiratory infection, fever, or recent travel. Pet. Ex. 3 at 1. Dr.
Mukardamwala’s physical examination revealed that Petitioner was unable to wrinkle the left
side of his forehead, that he had left eye closure weakness, and left nasolabial flattening. Id. Dr.
Mukardamwala diagnosed Petitioner with “[l]eft peripheral seventh nerve palsy, likely
idiopathic;” “[l]eft postauricular pain;” and “[c]hronic lower back pain.” Id. at 2. Prescriptions
were given for prednisone, Valtrex, 5 and Vitamin B12. Id. Petitioner requested a work excuse
form. Id. “He state[d] that he work[ed] [] two days a week, and given his ability to close the eye
and frequent dryness issues, he [would] not be able to work. Patient was given [the] requested
form.” Id.

        Petitioner returned to see Dr. Mukardamwala on October 13, 2014, with worsening of his
left postauricular pain. Pet. Ex. 3 at 3. He also reported a history of chronic neck pain and


3
 The hepatitis B vaccine is given in a series of three doses on a zero, one-month, and six-month
schedule. See Pet. Exhibit (“Ex.”) 41 at 2. Petitioner received the ENGERIX-B vaccine. Pet.
Ex. 1 at 6.
4
 The postauricular area is behind or posterior to the auricle, the exterior portion, of the ear.
Postauricular, Dorland’s Med. Dictionary Online, https://www.dorlandsonline.com/dorland/
definition?id=40478 (last visited June 5, 2024); Auricula, Dorland’s Med. Dictionary Online,
https://www.dorlandsonline.com/dorland/definition?id=4877 (last visited June 5, 2024).
5
  “Valtrex (valacyclovir) is an antiviral medication used to treat infections with[] herpes zoster
(shingles), herpes simplex genitalis (genital herpes), and herpes labialis (cold sores).” Valtrex,
RxList, https://www.rxlist.com/valtrex-drug.htm (last visited June 5, 2024).



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complained of some “tightness of his right side of the face.” Id. Petitioner was advised to
discontinue Valtrex due to fatigue. Id. Petitioner “stated that [a] heating pad help[ed] with [his]
postauricular pain.” Id. Ibuprofen did not help the pain, although hydrocodone helped “to some
extent.” Id. Petitioner reported no other symptoms. Id. Assessment was “[l]eft peripheral
seventh nerve palsy, likely idiopathic;” “[p]ostauricular pain;” “[c]hronic neck pain;” and
[f]atigue.” Id. Magnetic resonance imaging (“MRI”) was ordered, which did not show any acute
intracranial process. Id.; Pet. Ex. 5 at 15. Petitioner was given Cymbalta 6 samples for pain. Pet.
Ex. 3 at 3.

       Dr. Mukardamwala next saw Petitioner on October 17, 2014 for continued symptoms.
Pet. Ex. 3 at 4. The day before, he called to report “severe left-sided occipital temporal
headaches with subjective feeling of numbness.” Id. Dr. Mukardamwala increased the dose of
Cymbalta, which Petitioner stated did not help him. Id. Petitioner also reported “lower back
pain,” which he had previously received chiropractic treatment for. Id. Physical examination
showed Petitioner’s eye closure had improved. Id. Petitioner underwent an occipital nerve
block. Id. He “tolerated the procedure well and reported symptomatic improvement.” Id. at 5.
He “requested medication for anxiety and breakthrough pain” and was given “10 tablets of
Tylenol #3[] and 10 tables of Ativan 1 mg as needed.” Id. Petitioner also wanted to try
acupuncture and Dr. Mukardamwala wrote a prescription for physical therapy. Id. Dr.
Mukardamwala’s assessment was “[l]eft peripheral seventh nerve palsy, likely idiopathic,” and
was “[i]mproving gradually;” “[p]ostauricular pain;” “[o]ccipital neuralgia;” and “[a]nxiety.” Id.
at 4. Dr. Mukardamwala reviewed the normal MRI findings. Id. Petitioner requested an excuse
for work, “[h]owever, [Dr. Mukardamwala] discussed with him that his symptoms have been
improving, and he may return to work.” Id.

        On November 4, 2014, Petitioner returned for follow-up. Pet. Ex. 3 at 6. Since receiving
the nerve block at the previous visit, “his pain [was] better.” Id. He had been to the chiropractor
and the treatment had “relieved his muscle tension.” Id. He “report[ed] improvement in his
symptoms.” Id. He did not go to physical therapy because he read online that “he should not
[overexert] himself.” Id. Petitioner also stated that he had contacted a lawyer for compensation,
“as he believe[d] that hepatitis vaccine caused hi[s] Bell’s palsy.” Id. Assessment was “[l]eft []
seventh nerve palsy, improving;” “[o]ccipital neuralgia, resolved;” and “[a]nxiety, better.” Id.
Dr. Mukardamwala noted that Petitioner was “improving gradually.” Id. “His facial strength
was better,” his “[l]eft nasolabial fold [was] reappearing,” “[h]is forehead wrinkling ha[d]
improved,” and he had “improvement in blinking on left side.” Id.

         Petitioner next saw Dr. Mukardamwala for follow-up on January 5, 2015. Pet. Ex. 3 at 7.
He stated that before his last visit in November 2014, he began having panic episodes at night.
Id. In one week, he had three panic episodes. Id. “[H]e suddenly gets up and screams and he
starts running and he feels being chased. This lasts for one minute before he comes to himself.
Then he comes to realization and settles down.” Id. He admitted having palpitations, feeling of


6
 “Cymbalta (duloxetine) is a selective serotonin and norepinephrine reuptake inhibitor (SNRI)
used for treating depression, anxiety disorder, and pain associated with diabetic peripheral
neuropathy or fibromyalgia.” Cymbalta, RxList, https://www.rxlist.com/cymbalta-drug.htm (last
visited June 5, 2024).


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dying during that episode. He also report[ed] feeling depressed and anxious,” as well as “anger
about his situation.” Id. Petitioner informed Dr. Mukardamwala that he had not returned to
work and “now he wants to go back to work with shorter shifts.” Id. His Bell’s palsy had
improved—he had a symmetric smile and symmetric forehead wrinkling. Id. Assessment was
“[l]eft Bell’s palsy,” “[p]ossible anxiety/panic attacks,” “[i]nsomnia,” and “[n]ightmares - ?
[p]arasomnia.” 7 Id. Petitioner was advised to take melatonin for insomnia and Paxil for anxiety.
Id. Dr. Mukardamwala provided a “return to work certificate with his request to work [] shorter
shifts (~8 hours).” Id.

        Dr. Mukardamwala next saw Petitioner on February 24, 2015. Pet. Ex. 3 at 8. He
reported “left facial tightness and facial spasms.” Id. His nightmares had improved on Paxil, but
he “lack[ed] [a] sense of well being,” although he “feels ‘ok’ during daytime.” Id. Physical
examination showed that his Bell’s palsy had improved; he had a “[s]ymmetric smile,” and
“symmetric forehead wrinkling.” Id. Assessment was “[l]eft Bell’s palsy – great improvement;”
“[p]ossible anxiety/panic attacks;” “[i]nsomnia;” “[l]eft facial muscle spasms;” and “[n]ightmare
disorder.” Id. Dr. Mukardamwala advised Petitioner to “use warm compresses for left facial
tightness,” take Methocarbamol 8 for spasms as needed, and continue Paxil at a reduced dose.
Id. Dr. Mukardamwala referred Petitioner to a psychiatrist for anxiety and panic attacks. Id.

        Dr. Salah Qureshi, a psychiatrist, saw Petitioner on March 11, 2015. Pet. Ex. 6 at 1-5;
Pet. Ex. 8 at 2. Petitioner “report[ed] that in October 2014 he ha[d] an episode of Bells palsy. It
took him a while to recover from it and during the process he became very anxious and
depressed.” Pet. Ex. 8 at 2. He complained of facial pain. Id. Petitioner stated that he had sleep
disturbances and “found himself shouting and yelling in the middle of the night. . . . He is
having nightmares and flashbacks. He feels tired. He is now worried about all these things
going on with him.” Id. Mental status examination revealed that Petitioner was “alert, awake[,]
and oriented to [time, place, and person]” and his “mood [was] anxious.” Id. His affect was
“appropriate” and “insight and judgement [were] fair.” Id. Dr. Qureshi prescribed Effexor 9 and
Klonopin 10 and discontinued Paxil. Id. There is no indication that Petitioner requested an


7
 Parasomnia refers to “a category of sleep disorders in which abnormal physiologic or
behavioral events occur during sleep, due to inappropriately timed activation of physiologic
systems; it includes nightmare disorder, sleep terror disorder, and sleepwalking disorder.”
Parasomnia, Dorland’s Med. Dictionary Online, https://www.dorlandsonline.com/dorland/
definition?id=36982 (last visited June 5, 2024).
8
  “Methocarbamol is indicated as an adjunct to rest, physical therapy, and other measures for the
relief of discomfort associated with acute, painful musculoskeletal conditions.” Methocarbamol,
RxList, https://www.rxlist.com/methocarbamol/generic-drug.htm (last visited June 5, 2024).
9
 Effexor (venlafaxine) “is used to treat depression, anxiety, panic attacks, and social anxiety
disorder (social phobia).” Venlafaxine, RxList, https://www.rxlist.com/venlafaxine/generic-
drug.htm (last visited June 5, 2024).
10
  Klonopin (Clonazepam) “is prescribed for the treatment of anxiety and seizure disorders.”
Klonopin, RxList, https://www.rxlist.com/klonopin-drug.htm (last visited June 5, 2024).


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excuse from work and there is no reference to Petitioner’s inability to work. See id.; Pet. Ex. 6 at
4-5.

        Petitioner next saw Dr. Qureshi on April 8, 2015. Pet. Ex. 8 at 3. At this visit, he
reported “feeling better” although he “continue[d] to feel anxious and depressed.” Id. “He [was]
sleeping and eating fair.” Id. He was taking the prescribed medications and denied any adverse
side effects. Id. On examination, Petitioner’s “mood [was] less depressed, less anxious.” Id.
There was no mention of Petitioner’s mental health problems impacting his ability to perform his
job. See id.; Pet. Ex. 6 at 6-7.

        On May 6, 2015, Petitioner returned to Dr. Qureshi. Pet. Ex. 8 at 4. At this visit, Dr.
Qureshi stated that Petitioner presented for his “[post-traumatic stress disorder (“PTSD”)] follow
up.” Id. Petitioner “report[ed] feeling less depressed and less anxious.” Id. Although Effexor
XR was less effective than “regular Effexor,” Petitioner reported that “Klonopin [was] working
well for him.” Id. Petitioner was “sleeping and eating well.” Id. He stated that “[h]e [did] not
have any other stressors in [his] life.” Id. Examination showed that Petitioner’s “mood [was]
less depressed, less anxious.” Id. He denied “any abnormal perceptions” and insight and
judgment were noted to be fair. Id. Dr. Qureshi prescribed Celexa 11 in addition to his other
medications. Id. Dr. Qureshi did not document any concerns about Petitioner’s ability to work
as a pharmacist. See id.

         Dr. Qureshi next saw Petitioner on June 18, 2015. Pet. Ex. 8 at 5. Petitioner reported
that he was “feeling better” although he did not think Celexa was working. Id. He was “less
anxious and less depressed” and he was “not having any nightmares.” Id. He was also “sleeping
and eating fair.” Id. Dr. Qureshi’s diagnosis was “[s]ingle major depressive episode.” Id. Dr.
Qureshi discontinued Celexa and prescribed Wellbutrin. 12 Id. Petitioner did not report having
any difficulty working as a pharmacist, and Dr. Qureshi did not document any concerns about his
ability to work. See id.

        There are no records of visits by Petitioner to see Dr. Qureshi for four months, until
October 20, 2015. Pet. Ex. 8 at 6. At his visit on October 20, 2015, he stated that he ran out of
his medications two weeks before because he missed his appointment. Id. He did not feel well
and wanted to go back on Effexor and Klonopin. Id. He reported “feel[ing] depressed at times,”
and he was “having some difficulty sleeping.” Id. He discontinued taking Celexa because “he
[did] not like it.” Id. Dr. Qureshi’s diagnoses were “[s]ingle major depressive episode” and
“[PTSD].” Id. Petitioner did not report any problems with his employment or ability to work.
See id.



11
   “Celexa (citalopram hydrobromide) is a type of antidepressant called a selective serotonin
reuptake inhibitor (SSRI) indicated for the treatment of depression.” Celexa, RxList,
https://www.rxlist.com/celexa-drug.htm (last visited June 5, 2024).
12
  “Wellbutrin (bupropion) is an antidepressant . . . used for the management of major depression
and seasonal affective disorder.” Wellbutrin, RxList, https://www.rxlist.com/wellbutrin-
drug.htm (last visited June 5, 2024).


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       Three months later, on January 13, 2016, Petitioner returned to Dr. Qureshi for a follow-
up appointment. Pet. Ex. 8 at 7. He was “feeling less anxious and less depressed.” Id. He was
“sleeping and eating fair.” Id. He liked the Wellbutrin. Id. His diagnoses remained “[s]ingle
major depressive episode” and “[PTSD].” Id. Petitioner did not report any problems with his
employment or ability to work at this visit. See id.

        Petitioner returned on April 13, 2016, three months later, for follow-up, and reported that
he was “doing fine.” Pet. Ex. 8 at 8. He was “undergoing [a] jury trial for divorce and fe[lt]
pressured because of that. He [was] stressed out financially and [was] also taking care of his
[two] year old daughter.” Id. He felt “overwhelmed,” “anxious at time,” and had experienced a
“panic attack 10 days ago . . . for a few minutes.” Id. He was “angry and frustrated at his wife”
who “initially ran away with his daughter.” Id. Dr. Qureshi documented that Petitioner was
“able to sleep well at night.” Id. His medications, particularly the Wellbutrin, were “working
well for him.” Id. At the April 13, 2016 visit, Petitioner did not report that he had been
terminated from his employment due to failure to obtain approval for leave. See id.; see also Pet.
Ex. 63 at 190.

       There are no records of visits to Dr. Qureshi’s office after the visit on April 13, 2016 until
April 26, 2017, a period of over one year. See Pet. Ex. 8 at 9.

        On April 26, 2017, Petitioner returned to Dr. Qureshi for “[i]ncreased anxiety” and
medication refill. Pet. Ex. 8 at 9. He reported “feeling very anxious due to ongoing divorce.”
Id. He “[was] restless and not able to sleep well.” Id. He was also “overwhelmed and stressed.”
Id. He was “taking care of his daughter” and “looking for a job now.” Id. Diagnosis was PTSD.
Id. He restarted Klonopin and started Zoloft. 13 Id. There was no documentation to suggest that
either Petitioner or Dr. Qureshi had any concerns about Petitioner’s ability to return to work as a
pharmacist. See id. at 9-10.

        Petitioner returned for follow-up of his anxiety to Dr. Qureshi’s office on May 10, 2017
and saw Jie Zheng, Physician Assistant (“PA”). Pet. Ex. 8 at 11. Petitioner was “less depressed
and less anxious.” Id. He reported “sleeping better.” Id. The subjective history taken from
Petitioner stated,

       He is a former pharmacist but has not been working due to medical issues and the
       ongoing divorce and custody. He is in a lot of stress due to family issues but he
       does not want to see a therapist. He states that last week he applied for [S]ocial
       [S]ecurity [D]isability for the following reasons: herniated [discs], colorectal
       surgery, depression and anxiety, and [B]ell’s palsy secondary to [h]ep[atitis] B
       immunization. He may need Dr. Qureshi to sign the paperwork when needed.

Id. His diagnosis remained PTSD. Id. His medications were renewed. Id. at 11-12.


13
  “Zoloft (sertraline) is an SSRI (selective serotonin reuptake inhibitors) antidepressant
prescribed for the treatment of[] depression, obsessive compulsive disorder (OCD), panic
disorder, [PTSD], [and] social anxiety disorder . . . .” Zoloft, RxList, https://www.rxlist.com/
zoloft-drug.htm (last visited June 5, 2024).


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        At the next follow-up visit on June 7, 2017, Petitioner saw Quynh Tu Vu, PA. Pet. Ex. 8
at 13. Petitioner stated he was “feeling fair,” although he “continue[d] to have some anxiety and
depression.” Id. He was “more concerned with the anxiety due to ongoing divorce proceeding
and child custody trial.” Id. “[H]is daughter is everything to him and [he] will do his best to
raise her.” Id. Again, Petitioner reported “sleeping and eating well.” Id. He also restated that
he was in the process of applying for Social Security Disability benefits “for the following
reasons: herniated [discs], colorectal surgery, depression and anxiety, and [B]ell’s palsy
secondary to [h]ep[atitis] B immunization.” Id. Petitioner requested “some PRN[14] pain
med[ications] if possible.” Id. Prescriptions for refills of Klonopin and new prescriptions for
Paxil and Tramadol 15 were given. Id. at 14.

        On August 25, 2017, Petitioner underwent a medical examination for a Social Security
Disability determination by Dr. Ron Kirkwood, D.O.. Pet. Ex. 14 at 2-5. Dr. Kirkwood noted
that Petitioner “continue[d] to have some palsy on the left side of his face,” and that it affected
his eye. Id. at 2.

         Petitioner presented to Dr. Raghu Athre, M.D., on April 25, 2018, complaining of
tightness in the left side of his face. Pet. Ex. 11 at 1. Petitioner reported that his “muscle
tightness [was] due to Bell’s palsy” in October 2014, and that he had “pain due to the muscle
spasm.” Id. at 3. Dr. Athre documented that Petitioner had “complete facial nerve movement on
the left side.” Id. Physical examination revealed his “[t]rigeminal nerve [was] intact over all
three branches. No cranial nerve deficits [were] noted.” Id. at 1. Dr. Ahtre “explained to the
patient that [he] fe[lt] his cosmetic outcome after Bell’s palsy [was] excellent.” Id. Dr. Ahtre
did not recommend any additional treatment for Petitioner’s Bell’s palsy. Id.

       B.      Supplemental Medical Records 16

       The following supplemental records were filed after the Ruling on Entitlement issued and
in support of Petitioner’s damages claims.




14
  PRN stands for pro re nata, or “according to circumstances.” P.R.N., Dorland’s Med.
Dictionary Online, https://www.dorlandsonline.com/dorland/definition?id=40973 (last visited
June 5, 2024).
15
  “Ultram (tramadol) is a pain reliever (analgesic) used to treat moderate to moderately severe
pain in adults.” Ultram, RxList, https://www.rxlist.com/ultram-drug.htm (last visited June 5,
2024).
16
  See Pet. Exs. 45-68. The undersigned has reviewed all exhibits filed in this case, including
any that are not specifically covered in the Ruling on Entitlement or this Ruling. If they are not
referenced in the Ruling on Entitlement or in this Ruling, there are not materially significant to
the issues to be adjudicated.


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               1.      Memorial Hermann Clinic: 2018 to 2019

        In 2018 and 2019, Petitioner received medical care at Memorial Hermann Clinic, where
he saw family practice physician, Dr. Marlyn Generillo, for general medical care. See Pet. Ex.
49. On May 9, 2018, Petitioner saw Dr. Generillo for low back pain that “started in 2004.” Id. at
3. The note from that visit stated that Petitioner was unable to work due to his back pain. Id.
Formerly, Petitioner “work[ed] as a pharmacist but standing for long periods of time hurt his
back a lot.” Id. Dr. Generillo also noted Petitioner’s history of severe anxiety. Id. Petitioner’s
Problem List did not include Bell’s palsy. See id. Review of symptoms did not identify any
problems secondary to Bell’s palsy. See id. Physical examination did not identify any
abnormalities related to Bell’s palsy. See id. at 3-4. Dr. Generillo refilled Petitioner’s
prescription for Tylenol #3 and ordered Flexeril and meloxicam for back pain. Id. at 4.

        Petitioner returned to see Dr. Generillo on September 27, 2018, complaining of thoracic
back pain and rectal pressure. Pet. Ex. 49 at 8. In 2010, Petitioner had a lateral sphincterotomy
for a rectal fistula, and he was experiencing rectal pressure symptoms again. Id. Dr. Generillo
referred Petitioner to a colorectal surgeon. Id. at 9. There was no mention of any problems with
Bell’s palsy. See id. at 8-9.

        On October 16, 2018, Petitioner saw colorectal surgeon Dr. Mohummed Radwan Khani
for “history of weak sphincter muscles.” Pet. Ex. 49 at 12. Dr. Khani noted that Petitioner had a
past medical history of “stress disorder due to chronic back pain with herniated disc.” Id. The
appointment focused on Petitioner’s rectal pressure and urgency and frequent bowel movements.
See id. at 12-13. There was no discussion of Bell’s palsy. See id. Petitioner completed a patient
questionnaire at this appointment. Id. at 21-23. In the section about past medical history,
Petitioner did not document his history of Bell’s palsy. See id. at 21. He also did not document
any current symptoms related to Bell’s palsy in his review of systems. See id. at 23. Petitioner
documented his current symptom of anxiety and wrote it was “due to stress from the anal
sphincter issue. Excessive [bowel movement] urgency and chronic back problem due to
herniated lumbar disc.” Id. He did not attribute his current anxiety to Bell’s palsy. See id. at 21-
23.

        The next visit with Dr. Generillo was February 21, 2019, again for back pain. Pet. Ex. 49
at 24. At this visit, Petitioner requested a refill of Soma for his back pain. Id. He said that the
Soma also helped with “spasms o[f] his facial muscles.” Id. Dr. Generillo refilled the Soma and
stated, “consider neuro[logist] referral if not better.” Id. at 25. There is no further reference to
Bell’s palsy in these records. And it does not appear that a referral to a neurologist was made.

       Dr. Generillo next saw Petitioner for his annual physical on March 25, 2019. Pet. Ex. 49
at 27-28. There were no issues or problems related to Bell’s palsy documented at this visit. See
id.

       Petitioner saw endocrinologist, Dr. Edward W. Nicklas II, on April 4, 2019, on referral
from Dr. Generillo, for follow-up of a thyroid nodule detected by ultrasound. Pet. Ex. 49 at 49-
50. Dr. Nicklas’ history stated Petitioner’s “[m]ain concern [was] chronic back problem, in
which [he] [was not] able to do pharmacy work.” Id. at 49. Review of systems and physical



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examination results do not mention Bell’s palsy. See id. at 49-50. Dr. Nicklas did not find the
ultrasound concerning and recommended follow-up in one year. Id. at 50.

        On April 12, 2019, Petitioner saw Dr. Khani in follow-up for his rectal problems and was
referred for a colonoscopy. Pet. Ex. 49 at 62-63.

       The last visit to Dr. Generillo was September 12, 2019, when Petitioner presented with
cough and congestion, and was diagnosed with an upper respiratory infection. Pet. Ex. 49 at 65-
66.

               2.     Endocrinology and Gastroenterology Records: 2020 to 2021

        Petitioner filed records from visits to specialists in endocrinology and gastroenterology,
along with relevant diagnostic studies from 2020 and 2021. See Pet. Ex. 45 (Digestive Health
Center, Bay Area Houston Endoscopy, and other providers); Pet. Ex. 47 (The Endocrinology
Clinic, including records from HAR Surgical, Clear Lake Specialties, PA, and other providers).
These records document Petitioner’s abdominal pain, hernias, rectal problems, and other
gastrointestinal problems. See id. Petitioner suffered from gastritis, esophagitis, abdominal
pain, inguinal hernia, rectal spasms, and had a past history of sphincterotomy for anal fissure.
See id. He had continued symptoms of frequency and urgency. Pet. Ex. 45 at 4, 25. The records
do not discuss Petitioner’s Bell’s palsy or its sequalae. See id. However, Petitioner did
reference Bell’s palsy in a patient questionnaire he completed on April 22, 2021. Pet. Ex. 47 at
76. Petitioner wrote that he was a “Pharmacist 1998-2016. Couldn’t . . . work after March 2016
due to severe pain. Very frequent urgency to empty [his] bowel. Severe back pain and neck pain
(chronic due to arthritis and disc problems, as well as nerve problems). PTSD from Bell’s palsy
which started in October of 2014 after receiving [h]ep[atitis] B [] shot.” Id.

        Petitioner’s Exhibit 45 also contains some records dating back to 2009 and 2010, relevant
to diagnostic studies that show colonic diverticulosis and a surgical pathology report from a
rectal biopsy perform August 17, 2010. Pet. Ex. 45 at 20-22.

               3.     Texas Behavioral Health: 2022 to 2023

        As described above, Petitioner was seen in Dr. Qureshi’s office on June 7, 2017. Pet. Ex.
8 at 13. There is another gap in records from June 7, 2017 until April 2, 2018. Pet. Ex. 46 at 2.

        On April 2, 2018, Petitioner reported to Dr. Qureshi that in March he was admitted to the
hospital for chest pain but was diagnosed with anxiety. Pet. Ex. 46 at 2. His primary care
physician prescribed Diazepam for anxiety, and he was “doing much better.” Id. Also,
Petitioner “recently received custody of his daughter and he [was] feeling better.” Id. Dr.
Qureshi’s diagnosis was PTSD and insomnia, and refills were given for Diazepam, Paxil, and
Ambien. Id. at 2-3. There was no reference to Petitioner’s employment status at this visit.

       Jie Zheng, PA saw Petitioner for follow-up on May 3, 2018. Pet. Ex. 46 at 4. Petitioner
now had “custody of his daughter and [was] happy about it.” Id. He reported being less
depressed and anxious. Id. He also left paperwork to support his disability claim with Dr.



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Qureshi to complete. Id. Petitioner “denie[d] other life stressors at present.” Id. At his follow-
up visit on June 4, 2018 with Jie Zheng, PA, Petitioner reported “doing ‘ok’” and less depressed
and anxious on his current medications. Id. at 6. He had an MRI due to back pain and was
taking Tylenol #3 for the pain. Id. Petitioner reported some anxiety and stress related to caring
for his daughter. Id. He was also noted to be in the process of getting a divorce. Id. Petitioner’s
next visit was July 2, 2018, again with Jie Zheng, PA. Id. at 8. The records from that visit do
not show any substantive changes in Petitioner’s condition. See id. at 8-9. At these three visits,
Petitioner’s Bell’s palsy was not documented as contributing to his anxiety. See id. at 4-9.

        Petitioner had a telephone visit with Dr. Qureshi on July 17, 2018, and was seen by
Sheila Huynh, PA, to complete his disability paperwork. Pet. Ex. 46 at 11. He reported that he
was “not able to focus” and had been “out of work since March 2016.” Id. “He complain[ed] of
continue[d] pain and not [being] able to stand for [a] long time.” Id. His current stressor was
“out of work[] and divorce complete.” Id. Petitioner did not identify his Bell’s palsy as a current
stressor. See id. Diagnosis was PTSD and insomnia. Id. at 12. Petitioner’s medications were
refilled. Id.

       On August 7, 2018, Petitioner saw Jie Zheng, PA. Pet. Ex. 46 at 14. They discussed his
medication regimen. Id. He reported being stressed by his divorce case; his next court date was
August 22. Id. At his next visit on September 7, 2018, Petitioner again saw Jie Zheng, PA. Id.
at 17-18. There was no history documented. Id. Petitioner had a two-month follow-up visit on
November 12, 2018 with Jie Zheng, PA. Id. at 20. He reported that “he ha[d] been off his
medications for several weeks,” and he could not make an appointment due to a procedure. Id.
He was “struggl[ing] with his ex-wife” and reported “she [was] causing troubles.” Id.

        Petitioner’s records from 2018 visits do not document that he was experiencing stress due
to his Bell’s palsy; his stressors were documented to be related to obtaining custody of his
daughter, his ongoing divorce proceedings, and his finances. See Pet. Ex. 46 at 2-22.

        Petitioner returned to the office and was seen by Jie Zheng, PA on January 22, 2019. Pet.
Ex. 46 at 23. He had missed his prior appointment and had been off his medications for several
weeks. Id. He reported “some panic attacks.” Id. He was “stressed financially.” Id.
Petitioner’s medication was refilled. Id. at 24. On February 20, 2019, Petitioner stated “he ha[d]
been doing ‘Okay’” although he reported stress due to finances. Id. at 26. On March 29, 2019,
Petitioner “denie[d] having panic attacks since [his] last visit” and he thought that Xanax was
working well. Id. at 29. He was sleeping well with Ambien. Id. He remained stressed due to
finances. Id. He had a court day in May 2019 related to his disability claim. Id. On April 26,
2019, Petitioner again saw Jie Zheng, PA. Id. at 32. He was stressed due to his “ex-wife” and
“worry[ing] about [his] daughter.” Id. He was also “stressed financially.” Id. At his visit on
May 31, Petitioner reported that he had stress “due to his disability application pending” and
from his “back pain.” Id. at 35. On July 23, he was “stressed due to denial of disability
application,” “back pain,” and finances. Id. at 38. At the next visit on September 23, 2019,
again with Jie Zheng, PA, Petitioner’s stress was “due to his physical pain” and finances. Id. at
41. Two months later, on November 21, 2019, he continued to report “feeling stressed due to his
back pain. Id. at 44. Petitioner’s depression and anxiety were described as “fairly well
controlled.” Id.



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       During his visits in 2019, there was no documentation that Petitioner’s stress or anxiety
was due to Bell’s palsy; his reported stressors were related to his finances, ex-wife, worry for his
daughter, back pain, and the denial of his disability application. See Pet. Ex. 46 at 23-46.

        Moving to 2020, Petitioner’s first appointment was on February 19, 2020, with Jie
Zheng, PA. Pet. Ex. 46 at 47. He reported that he was not feeling well and was experiencing
“deep anger ‘about things that don’t go with [his] expectation . . . the court . . . the violation [his]
daughter’s mother is doing . . . this [gave] [him] a lot of stress.’” Id. He felt that he could not
“get justice.” Id. Petitioner’s medications were adjusted and refilled. Id. at 47-48. At his next
visit with Jie Zheng, PA, via telemedicine, on June 15, 2020, Petitioner reported “feeling ‘fine’
since [his] last visit,” although he continued to have “anxiety due to his current situation.” Id. at
50. On September 14, 2020 at a telemedicine visit, Jie Zheng, PA wrote that Petitioner was
“feeling somewhat depressed and anxious ‘due to the COVID-19 . . . it creates a lot of chaos.”
Id. at 53. He was “worried about this pandemic.” Id. At Petitioner’s telemedicine visit on
October 21, 2020, he was reportedly “depressed ‘due to COVID-19 and other things.’” Id. at 56.
Jie Zheng, PA adjusted Petitioner’ medications. Id. at 56-57. At his visit with Jie Zheng, PA, on
November 19, 2020, via telemedicine, Petitioner’s current stressors were “financial problems;
COVID-19; [and] daughter’s online learning.” Id. His disability claim was denied, and “he [did]
not have income to pay property tax.” Id.

        In 2021, Petitioner continued to have telemedicine visits. Pet. Ex. 46 at 62. On February
24, 2021, Petitioner saw Jie Zheng, PA, and reported “feeling depressed” with little
“interest/motivation to do anything.” Id. His current stressors were finances, the pandemic, and
being a single parent caring for his daughter. Id. At his follow-up visit on May 21, 2021,
Petitioner was seen by Jayma Mickler, PAC. Id. at 65. At this visit, Petitioner reported “stress
due to past trauma from when he received the [h]ep[atitis] B vaccine and had severe
complications after,” which “ha[d] severely impacted his life and functioning.” Id. He reported
“feeling hopeless at times” and that his “panic attacks [were] better controlled with the
[K]lonopin.” Id. Jayma Mickler, PAC next saw Petitioner on August 13, 2021. Id. at 67. Dr.
Khwaja Tariq signed off on the note from this visit as the supervising physician. Id. at 68.
Petitioner’s current stressors were “mental illness and finances.” Id. at 67. “He report[ed] he
[was] not able to receive the Covid 19 vaccine due to complications from previous vaccines,
therefore he [was] now even more isolative. He report[ed] feeling lonely.” Id. At his last visit
in 2021, on November 9, 2021, Petitioner was seen by Oghale Mukoro, PMHNP. Id. at 69. At
this visit, Petitioner reported “[f]eeling down, depressed, or hopeless [n]early every day.” Id. He
was assessed with moderately severe depression. Id. at 70. His current stressor was finances.
Id. at 69.

       Petitioner continued to have follow-up visits in 2022. He was seen by Jayma Mickler,
PAC for four visits, all conducted remotely through telemedicine. Pet. Ex. 55 at 2-14. Dr. Tariq
signed off as the supervising physician. Id. All of the visits were for “follow up treatment of
depression[] [and] anxiety.” Id. at 2, 5, 8, 11. On the first of the four appointments, on February
9, 2022, Petitioner reported “depressed mood, anhedonia, and lack of motivation” as well as
“ongoing anxiety and excessive worrying.” Id. at 2. However, his medications were helping and
he wanted to continue his current regimen of Klonopin, Ambien, and Zoloft. Id. Stressors



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included “dealing with mental illness and finances.” Id. Examination revealed that Petitioner’s
short- and long-term memory were normal, that attention was normal, and insight and judgment
were described as fair. Id. at 2-3. Diagnoses were “[m]ajor depressive disorder, recurrent
episode, moderate;” “[g]eneralized anxiety disorder;” and PTSD. Id. at 3.

        Medical records from Petitioner’s appointments on May 9, August 1, and November 1,
2022, were all very similar. See Pet. Ex. 55 at 5-14. On May 9, Petitioner reported that his
current stressors included “dealing with mental illness and finances.” Id. at 5. At the visit on
August 1, Petitioner reported “depression and anxiety related to his past trauma. He report[ed]
he ha[d] started therapy to work through these issues.” Id. at 8. The past trauma was not
described in the records. See id. Bell’s palsy, or its residual effects, was not mentioned. See id.
Although the note stated that he had started therapy, the name of the therapist was not identified.
See id. In the last visit, on November 1, 2022, Petitioner reported that his current stressors were
“dealing with mental illness” and “related to finances and trouble gaining SSI [disability].” Id. at
11.

        Petitioner was seen by Dr. Tariq for a remote telemedicine visit on January 13, 2023.
Pet. Ex. 59 at 2. Chief complaint was “legal evaluation.” Id. (emphasis omitted). The purpose
of the visit was for a “legal evaluation” of Petitioner’s “current mental status.” Id. (emphasis
omitted). The evaluation was done “in the context of [Petitioner’s] lawyers wanting to talk to
supervising provider about patient’s current mental status.” Id. Petitioner reported “low mood,
anhedonia, lack of energy, feelings of hopelessness, insomnia[,] and feelings of helplessness.”
Id. He also “discussed the impact his facial palsy [] had on his mental health.” Id. He reported
that he never had “depression or anxiety prior to the facial palsy. He fe[lt] the facial palsy,
through the symptoms it caused [] including head and neck pain, change in appearance etc. ha[d]
impaired him to the point that he has no meaningful ability to function socially or
occupationally.” Id. Petitioner acknowledged “mild improvement in his depressive and anxiety
symptoms with medication [] and psychotherapy.” Id. On examination, Dr. Tariq noted
Petitioner’s thought process was “[l]ogical and linear,” his short- and long-term memory were
normal, his attention span was normal, and insight and judgment were fair. Id. at 3. Dr. Tariq’s
diagnoses included “[m]ajor depressive disorder, recurrent episode, moderate;” “[g]eneralized
anxiety disorder;” and PTSD. Id. Petitioner agreed to continue his current medications, which
included Ambien for sleep as needed, Zoloft daily, Klonopin as needed three times per day, and
Trazodone at bedtime as needed. Id.

        In addition to the medical records, Dr. Tariq wrote two versions of a “Psychiatric Opinion
Letter,” both dated February 2, 2023, regarding his visit with Petitioner on January 13, 2023.
Pet. Exs. 57-58. In the first, Dr. Tariq stated that Petitioner had been under his care since May
2021, through Jayma Mickler, PAC, and that he was seen for a comprehensive evaluation on
January 13, 2023. Pet. Ex. 57 at 1; see Pet. Ex. 46 at 65; Pet. Ex. 59 at 2. Dr. Tariq stated that
despite treatment with medication and psychotherapy, Petitioner had “not experienced any
meaningful or lasting improvement in his symptoms.” Pet. Ex. 57 at 1. Dr. Tariq also stated that
Petitioner “consistently cited his facial palsy as his primary stressor.” Id. When seen on January




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13, 2013, Petitioner was described as “severely depressed and anxious.” 17 Id. at 1-2. Dr. Tariq
concluded that it was his opinion that “the facial palsy subsequent to [h]epatitis B vaccination in
October of 2014 is the most important predisposing and precipitating factor in the etiology of
[Petitioner’s] current psychiatric symptoms.” Id. at 2. Dr. Tariq added that “[t]he changes in
[Petitioner’s] appearance and functioning of his facial muscles, as well as head and neck pain
resulting from the Bell’s [p]alsy continue to be perpetuating factors for his mood, anxiety[,] and
PTSD symptoms.” Id.

        The second opinion letter is similar to the first but added a paragraph about Petitioner’s
inability to work. See Pet. Ex. 58 at 2. Dr. Tariq concluded that “[d]ue to the severity and
persistence of his symptoms, [Petitioner] is experiencing marked impairment of his social and
occupational functioning. At his current level of functioning[,] it is not possible for [Petitioner]
to safely and adequately perform work duties as a [p]harmacist.” Id. at 2. Further, Dr. Tariq
concluded that “[b]ased on his current mental status[,] [Petitioner] is not able to perform
meaningful vocational duties in any capacity.” Id.

               4.      Village Medical: 2022

        Petitioner also filed the records from Dr. Mark Aguilar at Village Medical. Pet. Ex. 60.
These records document two visits. The first, dated June 29, 2022, was for an annual
examination. Id. at 31. At that visit, Petitioner’s depression and anxiety were described as
“stable.” Id. at 35. The second visit was November 23, 2022, for an upper respiratory infection.
Id. at 26-29.

               5.      Texas Pain Physicians: 2021 to 2022

        Petitioner was seen by Dr. Seema Rasheed at Texas Pain on May 25, 2021, via
telemedicine, for evaluation and treatment of low back pain that began in 2004 and worsened
over time. Pet. Ex. 48 at 12. He had back pain every day, and he reported that was unable to
work “secondary to the pain.” Id. Petitioner also complained of gastrointestinal issues and a
rectocele, which “cause[d] him a lot of anxiety.” Id. Petitioner was diagnosed with lumbar
radiculopathy, lumbar spondylosis, anxiety, lumbar degenerative disc disease, chronic pain
disorder, and “[a]dmission for long-term opiate use.” Id. at 12-13. Petitioner reported that he
had been taking Tylenol #3 “for some time” and it “seem[ed] to help the best.” Id. at 13.
Petitioner reported that he was seeing a psychiatrist for his anxiety. Id. Bell’s palsy was listed in
Petitioner’s past medical history, however there was no indication that Petitioner was
experiencing any pain secondary to his history of Bell’s palsy. Id. at 12-14.

       Petitioner returned to Texas Pain for follow-up and medication refills from July through
November 2021. Pet. Ex. 46 at 15-26. At the visit on August 18, 2021, Petitioner reported
seeing a psychologist 18 and psychiatrist weekly. Id. at 19. On September 13, Petitioner stated


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   This statement is in contrast with Dr. Tariq’s record on January 13, in which he diagnosed
Petitioner with “moderate” but not severe depression. Pet. Ex. 59 at 3.
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   Petitioner did not identify the psychologist who was treating him in 2021, and it does not
appear he has produced records from that provider.


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that he “continue[d] to have anxiety from the injection . . . which gave him Bell’s palsy, and [he
was] not interested in injections” as treatment for his back pain. Id. at 21. In October 2021,
Petitioner stated that his back pain was “well controlled” with his current medication. Id. at 23.

        Petitioner also filed medical records from Texas Pain documenting his monthly visits
from December 8, 2021 until November 30, 2022, for continued treatment of his chronic back
pain. Pet. Ex. 48 at 35-36; Pet. Ex. 56 at 1-23. Assessments for these visits included lumbar
radiculopathy, anxiety, chronic abdominal pain, lumbar spondylosis, lumbar degenerative disc
disease, chronic pain disorder, and “[a]dmission for long-term opiate use.” Pet. Ex. 56 at 1, 3, 5,
7, 9, 12-14, 16, 18, 20, 22. “Myofascial pain” was added under assessments on October 26, 2022
and was included in the assessments from the visit on November 30, 2022. Id. at 20, 22. During
the period of treatment, Petitioner was prescribed acetaminophen with Codeine,
Cyclobenzaprine, and Flexeril for treatment of his back pain. Id. at 1-23. The records indicated
that Petitioner underwent surgery for an abdominal hernia in February 2022. Id. at 4. There is
no mention in these records to any pain or other residual effects from Bell’s palsy. See id. at 1-
23.

       C.      Petitioner’s Affidavits and Declarations

        Petitioner’s first affidavit was executed on December 12, 2017. Pet. Ex. 9 at 1. In it, he
averred that in the three years prior to his vaccination on October 2, 2014, “[he] was in good
health and [] had not needed to see a health care provider.” Id. at ¶ 4. He also stated that his last
appointment with his neurologist Dr. Mukardamwala was on February 24, 2015, and that he had
not seen any neurologist since that date. Id. at ¶ 5.

        In his second affidavit, executed on February 28, 2019, Petitioner averred that he
received the hepatitis B vaccine at issue on Thursday, October 2, 2014. Pet. Ex. 15 at ¶ 1.
Afterward, he experienced pain in his left arm where the vaccine was administered. Id. On the
evening of October 2, he had “general malaise and soreness.” Id. On Friday morning, October
3, 2014, he went to work, and opened the pharmacy where he worked. Id. at ¶ 2. His arm was
sore, but otherwise, he was fine. Id. That afternoon, he began having a headache. Id. His
headache continued and became severe, with “sharp piercing pain behind [his] left ear, and [his]
left eye was mildly burning with flowing tears.” Id. Although he wanted to stay out of work on
Sunday, October 5, 2014, Petitioner had a mandatory drug inventory to complete so he went to
work. Id. at ¶ 3. His pain, eye burning, and tearing continued. Id. When he arrived home after
work, and looked in the mirror, he saw that his “face was deformed.” Id. His left eye did not
blink or close, his mouth could not hold water when he tried to brush his teeth, the left side of his
face had no feeling, he was unable to chew food, and his mouth was drooping on the left side.
Id. Petitioner “thought [he] was having a stroke,” so he drove himself to an emergency room.
Id.

       At the emergency room, Petitioner was given medication for his severe headache. Pet.
Ex. 15 at ¶ 4. The “sharp piercing pain behind [his] left ear continued for [three to four] months”
and did not respond to medical treatment, so Petitioner had a nerve block. Id. at ¶ 5. Petitioner
also had numbness of his tongue for approximately six months. Id.




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       As of the date that he executed the affidavit in 2019, Petitioner averred that he continued
to “experience tightness and spasms in the left corner of [his] mouth, the left side of [his] face,
and the top of [his] left eye below [the] eyebrow.” Pet. Ex. 15 at ¶ 6. Petitioner also had fatigue
and spasms of his left eye. Id. He avoided smiling because his smile was not symmetric. Id.

        He also averred that due to his Bell’s palsy, he “developed chronic anxiety, depressive
episodes, nightmares due to panic attacks at night, and chronic insomnia.” Pet. Ex. 15 at ¶ 7. He
further alleged that he had been “diagnosed with PTSD and chronic insomnia,” and that he saw a
psychiatrist and took medication to treat these conditions. Id. Petitioner did not assert that he
was unable to work due to his Bell’s palsy, PTSD, chronic insomnia, or for any other reason.
See id. at ¶¶ 1-7.

        On September 25, 2023, Petitioner executed his first declaration. Pet. Ex. 67. In it, he
stated that following his vaccine injury in October 2014, he “was unable to return to work, so
[he] applied for short term disability benefits through [his] employer.” Id. at ¶ 2. He submitted
his application for short term benefits to Unum on October 7, 2014. Id. at ¶ 3. He used sick pay
for one week and then Unum paid for three weeks of disability. Id. at ¶ 4. He filed an appeal,
seeking a longer period of disability benefits, but his appeal was denied. Id.

         Petitioner executed his next declaration on December 4, 2023. Pet. Ex. 68. In it,
Petitioner averred that after his vaccine injury, he “first used [] sick pay and then received
benefits under an Unum policy for a short period of time.” Id. at ¶ 2. He returned to work in
January 2015 due to his need to support his family, however, he was “still suffering facial pain
and other symptoms.” Id. at ¶ 3. In January 2015, Petitioner had “been a pharmacist for 16
years and had worked at CVS since 2004.” Id. at ¶ 4. He had intended to stay with CVS until
the end of his career. Id. But in 2015, he experienced stress at work. Id. at ¶ 5. The sound of
the phone ringing at work hurt his affected ear and increased his anxiety. Id. at ¶ 6. And he felt
that his anxiety made it difficult to “concentrate and remember” to the point that he felt it was
“not safe . . . to be pharmacist.” Id. at ¶ 6. He quit working at CVS in March 2016 due to his
concerns about safety, and to limit his interaction with people and noise, in order to “keep [his]
stress level down.” Id. at ¶¶ 7-8. He “did not cover a shift and was terminated for not having
[his] absence approved.” Id. at ¶ 8. The HR department at CVS informed him that he could
reapply for his job and that he would be hired. Id. But Petitioner stated that he could not go
back because he could not “take the anxiety and pain anymore.” Id. He felt that he “just [could
not] take the stress of that job anymore” or do the work safely. Id.

        Regarding his low back pain, Petitioner averred that he has had back pain for years. Pet.
Ex. 68 at ¶ 9. He had low back pain prior to his Bell’s palsy and was able to work. Id.
Petitioner stated that he “did not stop working as a pharmacist because of his back pain.” Id.

        Petitioner concluded the declaration by stating that his Bell’s palsy has “caused [him] to
suffer from [nightmares], insomnia[,] and depression.” Pet. Ex. 68 at ¶ 10. He also had a
difficult time concentrating and remembering, and his symptoms were worsened by stress. Id.




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          D.      Petitioner’s Employment Records 19

       Petitioner’s employment records show that he was hired as a pharmacist by CVS on
August 1, 2004, and his last day of work was March 10, 2016. Pet. Ex. 63 at 74, 132. On March
11, 2016, he was suspended for taking leave, pending approval, and the following day, March
12, 2016, he was terminated for taking leave that was not approved. Id. at 190.

        Over the period of his employment, Petitioner took leave from work, primarily for health
reasons. Although the records are somewhat difficult to interpret, it appears that Petitioner took
a leave of absence for health reasons on the following dates:

     Date Leave Taken                  Date Returned to Work                         Citation
 November 3, 2004                    November 19, 2004                    Pet. Ex. 63 at 129-30, 186-87,
                                                                          242-43
 August 17, 2010                     September 8, 2010                    Pet. Ex. 63 at 107-08, 166-67,
                                                                          222-23
 May 21, 2013                        July 29, 2013                        Pet. Ex. 63 at 96-97, 155-56,
                                                                          211-13
 May 6, 2014                         July 14, 2014                        Pet. Ex. 63 at 90-91, 149-50,
                                                                          205-06
 October 6, 2014 (vaccination) January 11, 2015                           Pet. Ex. 63 at 85, 88, 144,
                                                                          147, 200, 203; Pet. Ex. 66 at
                                                                          2

       Petitioner took a leave of absence for health reasons at least four times prior to his
vaccination. In 2013, the year before his vaccination, it appears he took a two-month leave of
absence for health reasons. And again in 2014, prior to vaccination, Petitioner also took what
appears to be a two-month leave for health reasons.

       Beginning in 2013, Petitioner’s records show a pattern of taking leave for health reasons
without first obtaining approval, resulting in suspensions. See Pet. Ex. 68 at 98, 157, 213 (May
21, 2013); Pet. Ex. 68 at 92, 151, 207 (May 6, 2014); Pet. Ex. 68 at 89, 148, 203-04 (October 6,
2014); Pet. Ex. 68 at 75, 134, 190-91 (March 11, 2016). The last suspension resulted in his
termination on March 12, 2016. Id. at 74, 190.

          E.      Petitioner’s Claim for Short Term Disability – Unum

        On October 7, 2014, Petitioner filed a short-term disability claim for payment of lost
wages with Unum. Pet. Ex. 61 at 1. Petitioner worked as a pharmacy manager, and his last day
worked was October 5, 2014. Id. at 3. Benefits were approved through November 14, 2014. Id.
at 6. After that date, the claim was “closed because there was no support for restrictions and
limitations beyond this date.” Pet. Ex. 66 at 21. His appeal was unsuccessful. Id. at 22.


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     Some of these records are difficult to read, especially the dates.



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         Regarding his disability 20 claims arising from Bell’s palsy and neck pain, Unum stated
that the records show that Petitioner “returned to work as of January 11, 2015, working 30 hours
per week.” Pet. Ex. 66 at 21. He reported that he was “experiencing panic attacks and
depression” and noted that he was “taking Paxil 20 mg twice a day.” Id. Unum obtained records
from Dr. Qureshi (psychiatrist), Dr. Mukardamwala (neurologist), and Dr. Brandt Spies
(chiropractor). Id. Based on a review of these records, the Unum representative, Teresa B.
Ward, Lead Appeals Specialist, noted that Petitioner saw Dr. Spies on October 27, 2014. Id. On
that date, “Dr. Spies noted [Petitioner] [was] going out of the country for family business.” Id.
Petitioner saw Dr. Mukardamwala on November 4, 2014, and Petitioner’s “facial strength was
better, the left nasolabial fold was reappearing, and [his] forehead wrinkling had improved.
There was improvement in blinking on the left side. [Petitioner] also reported [that his] occipital
neuralgia had resolved.” Id. On November 14, Dr. Spies documented that Petitioner’s “facial
palsy had improved by 50%.” Id. Thus, Unum concluded that the records did not support
“restrictions and limitations due to Bell’s palsy and neck pain” preventing Petitioner from
“performing [his] regular occupation on a full time basis from November 14, 2014 and beyond.”
Id. at 22.

        Petitioner also claimed short term disability related to anxiety. Pet. Ex. 66 at 22. Unum
reviewed records from Dr. Mukardamwala and observed that Petitioner returned to work on
January 11, 2015, for 30 hours per week, and that this supported a finding that Petitioner had the
capacity to work. Id. Further, Unum found that “[t]here [was] no treatment provider(s) giving
any restrictions and limitations due to a behavioral health condition.” Id. Therefore, Unum
concluded “there [was] no support for restrictions and limitations due to anxiety that preclude[d]
[Petitioner] from performing [his] regular occupation on a full time basis from November 14,
2014, and beyond.” Id.

       F.      Social Security Evaluation in 2017 by Dr. Ron Kirkwood

        On August 25, 2017, Petitioner underwent a disability determination services evaluation
“regarding bulged/herniated disc at L4-L5[] [and] facial and eye nerve damage” by Dr. Ron
Kirkwood at Immediate Medical Care. Pet. Ex. 14 at 2. Dr. Kirkwood summarized Petitioner’s
complaints, stating that Petitioner’s primary complaint was “chronic back pain and neck pain.
He suffer[ed] daily with pain in his whole spine; basically, from his cervical spine down to his
lumbar spine . . . . He also ha[d] a complaint of problems with defecation due to an anal
sphincter problem.” Id. Although Petitioner had surgery, he had “frequent episodes of
defecation where he [was] running to the bathroom all the time.” Id. Dr. Kirkwood also
documented that Petitioner “suffer[ed] from depression and [was] seeing a psychiatrist, and
[PTSD] with generalized anxiety disorder as well.” Id. In addition, Petitioner stated that he had
“Bell’s [p]alsy a few years ago and continue[d] to have some palsy on the left side of his face,



20
  Unum defined residual disability as being “limited from performing the material and
substantial duties of your regular occupation due to your sickness or injury; and . . . a 20% or
more loss in weekly earnings due to that same sickness or injury.” Pet. Ex. 66 at 22-23.
Material and substantial duties are those “normally required for the performance of your regular
occupation; and cannot be reasonably omitted or modified.” Id. at 23.


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especially affecting his eye.” Id. Petitioner’s other problems included benign thyroid nodules,
hypertension, and “chronic pain syndrome.” Id.

         Physical examination revealed that Petitioner’s visual acuity was “20/25 in the right eye,
20/20 if the left eye, and 20/20 in both eyes with correction.” Pet. Ex. 14 at 3. His examination
did not reveal any problems with hearing, understanding directions, gait, use of his iPhone,
sitting, bending, or walking. Id. Petitioner did not use any assistive devices. Id. Examination of
the head, eyes, ears, and nose was normal, although Petitioner was noted to have a palsy on the
left side of his face. Id. Dr. Kirkwood’s impression was chronic back and neck pain, problems
with defecation, depression/PTSD, generalized anxiety disorder, “[h]istory of Bell’s [p]alsy with
a palsy on the left upper side of his face noted,” thyroid nodules, hypertension with elevated
blood pressure, chronic pain syndrome, and chronic use of pain medications. Id. at 4-5.

         A medical opinion questionnaire describing Petitioner’s ability to perform activities was
completed by Dr. Qureshi on July 21, 2018. Pet. Ex. 14 at 6-8. Dr. Qureshi rated Petitioner as
fair in many activities, but in some, Petitioner was assessed as poor or none. Id. Dr. Qureshi
added that Petitioner “has been very stressed due to his personal [and] medical health problems.”
Id. at 8.

       G.      Petitioner’s 2018 Letter to the Social Security Disability Administration
               Department

        Petitioner submitted his claim for Social Security Disability benefits with a letter dated
March 21, 2018. Pet. Ex. 12 at 1. In his letter, Petitioner described that he had been without
income “for the last two years due to multiple major health problems,” that included “chronic
lower and upper back problem, major anxiety and depression, spasms and pain from Bell’s palsy,
[] [and] pain and frequent bathroom use due to . . . surgery done in 2010.” Id. He explained that
he had “stopped work[ing] in March of 2016 when [his] conditions worsened and couldn’t allow
[him] to work without severe pain and suffering.” Id.

         In the letter, Petitioner also explained that he was raising his daughter (then age 4 years
and 9 months) as a single parent, and that she had developmental issues requiring “occupational,
feeding[,] and speech therapies.” Pet. Ex. 12 at 1. He had applied for Social Security Disability
Benefits in 2017 and was awaiting a hearing. Id. He described his financial situation and the
stress it was causing him. Id. He also recounted an admission to an emergency room on March
18, 2018, for “excruciating back and chest pain with severe spasms and extreme anxiety with
[his] blood pressure [] to 180/122.” Id.

       H.      Unfavorable Notice of Social Security Decision June 5, 2019 21

       Petitioner first applied for Social Security Disability benefits on April 26, 2017, and his
claim was denied on June 5, 2019. Pet. Ex. 39. The decision states that Petitioner alleged that


21
  The undersigned has reviewed the entire decision but summarizes only the most relevant
portions for the sake of brevity. The complete Social Security file is over 3000 pages. See Pet.
Ex. 64.


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his disability began on March 11, 2016. Id. at 4. His claim was initially denied on September
14, 2017 and again on reconsideration on December 1, 2017. Id. After a written request for
hearing, an evidentiary hearing was held May 2, 2019, where medical experts testified. Id.
Petitioner was represented by counsel. Id. After “careful consideration of all of the evidence,”
Vincent Bennett, Administrative Law Judge, found that Petitioner (claimant) “ha[d] not been
under a disability . . . from March 11, 2016, through the date of [the] decision.” Id. at 5.

       Regarding Bell’s palsy, Judge Bennett noted that in October 2014, Petitioner/claimant
“was unable to close his left eye fully and there was a slight numbness to both cheeks.
Otherwise, motor function in the face was normal. . . . He was diagnosed with Bell’s palsy and
migraine headache.” Pet. Ex. 39 at 7. “In September 2015, the Bell’s palsy had resolved.” Id.
He concluded that “[w]hile there was evidence of recurrent 22 Bell’s palsy in August 2017, there
was no evidence of any ongoing complications.” Id.

         The testimony of Dr. Albert Oguejiofor, an “impartial medical expert,” established that
“there were no exertional limitations related to Bell’s palsy.” Pet. Ex. 39 at 8. “Based on a
preponderance of the evidence, [] [Petitioner’s] claimant’s hypertension, Bell’s palsy, history of
rectal surgery and migraine headaches [were] nonsevere. A medically determinable impairment
is not severe if it is only ‘a slight abnormality which has such a minimal effect on the individual
that it would not be expected to interfere with the individual’s ability to work irrespective of age,
education, or work experience.’” Id.

        As for Petitioner’s mental health condition, Dr. Ashok Khushalani, a board-certified
psychiatrist, and impartial medical expert, testified. Pet. Ex. 39 at 8. “Dr. Khushalani
summarized the objective medical evidence, noting that [] [Petitioner] claimant had been
diagnosed with [PTSD], depression, anxiety[,] and panic disorder. [] [H]e noted the record
show[ed] consistent diagnoses of panic disorder and depression.” Id. Dr. Khushalani testified
however, that “the medical record [did] not substantiate the diagnosis of [PTSD].” Id. Further,
Petitioner’s/claimant’s “mental impairments” did not constitute “as least one extreme or two
marked limitations in a broad area of functioning” so as to satisfy the required criteria to show
that he was unable to work. Id. at 9. “In written statements, [] [Petitioner] claimant reported he
was able to care for his young daughter, prepare simple meals, wash and iron, perform light
household chores, grocery shop, drive, watch television[,] and use the computer.” Id.
Additionally, “[i]n August 2017, [] [Petitioner] claimant expressed he read the news on the
telephone and periodical[s] covering pharmaceuticals to preserve the knowledge and education
he obtained as well as researching trading and other opportunities in the hope of learning a new
skill.” Id. The records showed he “was able to provide information about his health, describe
his work history, follow instructions from healthcare providers[,] and respond to questions from
medical providers.” 23 Id.



22
  In August 2017, Petitioner underwent a medical examination for a Social Security Disability
determination by Dr. Kirkwood, and he noted that Petitioner “continue[d] to have some palsy on
the left side of his face,” and that it affected his eye. Pet. Ex. 14 at 2-5.
23
     For additional evaluation of Petitioner/claimant’s mental health issues, see Pet. Ex. 39 at 9-10.


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        After “careful consideration of the entire record,” Judge Bennett found that Petitioner
was able to “make decisions, attend and concentrate for extended periods, [and] accept
instructions and respond appropriately to changes in routine work settings.” Pet. Ex. 39 at 10.
Judge Bennett also described a psychological evaluation done August 14, 2017, wherein
Petitioner/claimant exhibited “adequate remote memory, recent memory[,] and immediate
memory. . . . He exhibited an adequate ability to make sound and responsive decisions. There
was no evidence of impaired insight. Id. at 13.

       I.      Partially Favorable Notice of Social Security Decision June 28, 2023

       In this decision, Administrative Law Judge, Donald J. Wiley, found Petitioner/claimant
disabled as of December 31, 2022, “the date last insured.” Pet. Ex. 62 at 7.

        Petitioner filed his second claim for disability benefits on July 16, 2020. Pet. Ex. 62 at 4.
It was initially denied and denied again on reconsideration. Id. A hearing was held on May 15,
2023, and two medical experts testified. Id. Upon advice of counsel, Petitioner/claimant
requested an amendment of his date of disability to January 31, 2020. Id.

        Regarding Petitioner’s allegations related to Bell’s palsy, Judge Wiley stated that “the
record reveals that [] [Petitioner] claimant has a history of left facial palsy after receiving a
hepatitis B vaccination in October 2014. As a result, he underwent changes in appearance and
function of facial muscles.” Pet. Ex. 62 at 10. Petitioner reported in January 2023 “that the
facial palsy, through symptoms such as head and neck pain as well as change in appearance, had
impaired him to the point that he did not have any meaningful ability to function socially or
occupationally.” Id. Judge Wiley concluded that “[n]evertheless, based upon the records, there
[was] no indication of any long-lasting effects of the use of his mouth or opening/closing of the
eyelids. His pain complaints [were] treated conservatively.” Id.

         As for Petitioner’s mental health issues, including allegations of anxiety, depression, and
PTSD, Judge Wiley reviewed and summarized all relevant records, including records from 2020
through 2022, and evidence from the experts. Pet. Ex. 62 at 14-15. Judge Wiley concluded that
“the intensity, persistence[,] and limiting effects of these symptoms [were] not entirely consistent
with the medical evidence and other evidence in the record.” Id. at 15. Moreover, “[i]f an
impairment can reasonably be controlled by medication or treatment, it cannot serve as a basis
for a finding of disability.” 24 Id.

       Petitioner “state[d] his primary issue [was] anxiety but he also attributed problems to the
residuals of the Bell’s [p]alsy.” Pet. Ex. 62 at 16. Dr. Tariq indicated Petitioner “ha[d] a
‘permanent’ disability due to major depression and [PTSD]. In February 2023, Dr. Tari[q]


24
  This regulation states that “[i]n order to get benefits, you must follow treatment prescribed by
your medical source(s) if this treatment is expected to restore your ability to work. . . . If you do
not follow the prescribed treatment without a good reason, we will not find you disabled or, if
you are already receiving benefits, we will stop paying you benefits.” 20 CFR § 404.1530(a)-
(b). Acceptable reasons for failure to follow prescribed treatment were also provided. See id. at
§ 404.1530(c).


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assessed that [] [Petitioner] claimant had a marked impairment in social and occupational
functioning and was not able to perform meaningful vocational duties in any capacity.” Id.
However, Judge Wiley found this assessment “not supported by the objective evidence of record,
especially Dr. Tari[q]’s progress notes.” Id. The records indicated Petitioner’s “mental
symptoms [were] controlled with medication and psychotherapy” and he “interact[ed] daily with
his family and [did] not allege any problems with interaction with family members.” Id. “He
limit[ed] interactions with the public, primarily related to his disfigurement with Bell’s [p]alsy.
Consequently, those opinions are not persuasive.” Id.

        However, because Petitioner was “an individual of advanced age” as of December 31,
2022, along with the opinions and findings of the vocational experts, and application of
applicable rules, Judge Wiley concluded that Petitioner was “disabled” as of that date, but not
before then. Pet. Ex. 62 at 22.

          J.     Expert Reports and Medical Literature

        In the entitlement phase of litigation, the parties offered expert opinions as to causation.
Petitioner retained Dr. Vera S. Byers as an expert in immunology. Dr. Byers did not offer any
opinion relevant to the psychological impact of Bell’s palsy or the issue of lost wages.
Petitioner’s other expert, Dr. Marcel Kinsbourne, set forth opinions briefly summarized below.
Respondent’s experts, Dr. Subramaniam Sriram and Dr. Harry W. Schroeder, Jr., did not opine
as to whether Petitioner’s Bell’s palsy impacted his ability to work. 25

        Dr. Kinsbourne opined that Petitioner’s hepatitis B vaccine caused his Bell’s palsy, and
that his residual effects and psychological problems are sequelae of his injury. Pet. Ex. 16 at 6.
Dr. Kinsbourne opined that the first manifestation of Petitioner’s Bell’s palsy was the left-sided
postauricular headache that he experienced the day after vaccination. Id. at 4. The following
day, Petitioner had “facial muscle weakness.” Id. While Petitioner’s palsy resolved, Dr.
Kinsbourne explained that the long-term sequalae included abnormal movements of the left side
of his face (“synkinesis”) and left eyelid closure with voluntary contraction of the left-sided
facial muscles. Id. Synkinesis “is attributed to aberrant reinnervation of the facial muscles
during recovery” from Bell’s palsy. Id.

        In his affidavit, Petitioner described the psychological distress that he had experienced
due to his Bell’s palsy. See Pet. Ex. 15. Dr. Kinsbourne stated that the medical literature is
replete with articles about “the psychological impact of facial palsies.” Pet. Ex. 16 at 5. He cited
Baugh et al., 26 who noted that “patients with facial paralysis experience psychosocial
dysfunction and diminished quality of life as a result of their appearance.” Id. at 6 (citing Pet.
Ex. 43 at 21).



25
     For a description of the experts’ opinions, see Ruling on Entitlement, at 6-18.
26
  D.F. Baugh et al., Clinical Practice Guideline: Bell’s Palsy, 149 Otolaryngology Head & Neck
Surgery S1 (2013).



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        Baugh et al. noted that while Bell’s palsy is usually “self-limited,” some patients may
have “long-term poor outcomes” that “can be devastating to the patient.” Pet. Ex. 43 at 2. “Most
patients with Bell’s palsy show some recovery without intervention within [two] to [three] weeks
after onset of symptoms and completely recover within [three] to [four] months.” Id. at 3. Those
who have “diminished facial movement and marked facial asymmetry, [and] . . . facial
paralysis[,] can have impaired interpersonal relationships and may experience profound social
distress, depression, and social alienation.” Id. at 3-4. There are many different procedures that
can “normalize facial appearance.” Id. at 4.

         Fu et al. 27 stated that even when the paralysis of Bell’s palsy resolves, patients who have
disfigurement may have ongoing “social and psychological problems.” Pet. Ex. 18 at 5. These
may include “greater levels of anxiety, depression, maladaptive behaviors, and reduced
emotional well-being.” Id. at 1. Fu et al. studied 103 patients with facial palsy, using a
questionnaire 28 to self-report measures of psychological distress using the Hospital Anxiety
Depression Scale (“HADS”) 29 to assess anxiety and depression. Id. The severity of facial palsy
was determined based on the House-Brackmann scale, which grades the degree of paralysis on a
scale of one to six, with one being normal and six indicating complete paralysis. Id. at 3. “[A]
significant proportion” of the patients experienced psychological distress due to their facial
palsy. Id. at 4. About one-third had depression, with eleven assessed as moderately depressed.
Id. at 3, 3 tbl.1. Also, about one-third had anxiety, with eleven having moderate anxiety. Id. at
3. The study did not examine the effect of Bell’s palsy, or its psychological distress, on the
participants’ ability to work or any adverse effects on employment. See id. at 1-5.

        Dr. Kinsbourne opined that there can be social and psychological problems associated
with Bell’s palsy. Pet. Ex. 16 at 3, 6. He opined that Petitioner had not been able to work due to
his health issues and that “[h]is residual deficits and [] continuing psychological adversities are
sequelae of the vaccine injury.” Id.




27
  L. Fu et al., Psychological Distress in People with Disfigurement from Facial Palsy, 25 Eye
1322 (2011).
28
   The questionnaire used was the Illness Perception Questionnaire-Revised (IPQ-R). Pet. Ex. 18
at 1. “The Illness Perception Questionnaire-Revised (IPQ-R) assesses patients’ beliefs about
their condition and includes 14 items that assess symptoms (identity). There are eight subscales:
identity, timeline, causes, consequences, personal control, treatment control, illness coherence
(patient’s understanding of their illness), and emotional representation. The timeline dimension
is further divided into an acute/chronic/cyclical subscale.” Id. at 2.
29
   “The Hospital Anxiety and Depression Scale (HADS) consists of a 14-item scale (two seven-
item subscales). The total score for each subscale ranges from 0 to 21. . . . The HADS has been
well validated and is commonly used to screen patients with a medical illness. It excludes
somatic symptoms of anxiety and depression, which may overlap with the physical illness.” Pet.
Ex. 18 at 2.


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V.     PARTIES’ CONTENTIONS

       A.      Petitioner’s Position

        Petitioner asserts that “[a]s a result of [his] Bell’s palsy, [he] developed an anxiety
disorder and ultimately PTSD.” Pet. Memo. at 1. Petitioner “attempted to continue work, but
his mental health issues became worse over time. Eventually, in March of 2016, because of his
mental health issues, [Petitioner] was unable to safely continue to work as a pharmacist.” Id. at
1-2. Petitioner argues that his “loss of earning capacity is directly related to his vaccine injury,”
and as such, he seeks compensation for lost wages. Id. at 2.

         In support of his argument, Petitioner provided a summary of his medical records, stating
that after he was diagnosed with Bell’s palsy, he reported to his neurologist on January 5, 2015,
that he was having panic attacks at night. Pet. Memo. at 3 (citing Pet. Ex. 3 at 7). Medication
helped, “but made him drowsy.” Id. (citing Pet. Ex. 3 at 8). When he quit taking the medication,
the nightmares returned. Id. (citing Pet. Ex. 3 at 8). Petitioner was referred to Dr. Qureshi, a
psychiatrist. Id. (citing Pet. Ex. 3 at 8). At the initial visit with Dr. Qureshi on March 11, 2015,
Petitioner reported his history of becoming anxious and depressed after he had Bell’s palsy. Id.
at 2-3 (citing Pet. Ex. 6 at 4). He also recounted his problems with nightmares and flashbacks.
Id. at 3 (citing Pet. Ex. 6 at 4).

        Petitioner also cites the opinion letters from Dr. Tariq in support of his claim for lost
wages. Pet. Memo. at 3-4 (citing Pet. Ex. 57 at 1-2); see also Pet. Ex. 58 at 1-2. Petitioner was
under Dr. Tariq’s care since 2021, and Dr. Tariq performed an evaluation in January 2023. Pet.
Memo. at 3 (citing Pet. Ex. 57). In his opinion letter, Dr. Tariq noted that in March 2015,
Petitioner presented with “progressively worsening symptoms of mood and anxiety” and “was
diagnosed with Generalized Anxiety Disorder and Major Depressive Disorder.” Id. (quoting Pet.
Ex. 57 at 1). Then in April 2017, Petitioner was diagnosed with PTSD. Id. (citing Pet. Ex. 57 at
1). Petitioner asserts that Dr. Tariq opined that Petitioner’s “mental health issues [were] directly
related to his vaccine injury.’” Id. at 3-4 (quoting Pet. Ex. 57 at 2). Dr. Tariq stated, “it is my []
opinion that the facial palsy subsequent to [h]epatitis B vaccination in October of 2014 is the
most important predisposing and precipitating factor in the etiology of [Petitioner’s] current
psychiatric symptoms.” Id. at 4 (quoting Pet. Ex. 57 at 2).

        Further, Petitioner asserts that he “lost several weeks [of] work because of the initial
physical challenges and pain” but that he “returned to work as soon as he was physically able as
he was the sole financial provider for his family. He worked throughout 2015.” Pet. Memo. at 4
(citing Pet. Ex. 68 at 1). Over time, Petitioner found it became more difficult to “safely operate
as a pharmacist.” Id. at 5 (citing Pet. Ex. 68 at 2). He “separated from his job on March 11,
2016,” and although “[h]e ha[d] been approached by pharmacies to come back to work, . . . he
[could not] handle the stress and . . . do the work safely due to his concentration and memory
issues.” Id.




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        Next, Petitioner cites the Social Security Disability decisions in support of an award for
loss of wages. Pet. Memo. at 5-7. Petitioner first applied for benefits in 2017, and the decision
issued June 5, 2019, “finding that [Petitioner] did not suffer from a disability as defined by the
Social Security Act.” Id. at 5-6 (citing Pet. Ex. 39 at 18). Petitioner argues, however, that the
Social Security Administrative Law Judge found that he was unable to work as a pharmacist due
to anxiety and depression, due to his impaired “ability to deal with stressors, particularly people.
Accordingly, the residual functional capacity limits the claimant to occasional contact with the
general public to reflect this limitation.” Id. at 6-7 (quoting Pet. Ex. 39 at 16). Therefore,
Petitioner notes the decision resulted in a determination that he was “unable to perform past
relevant work as actually or generally performed,” but finding that he could perform other jobs
such as “general office clerk” and “shipping clerk.” Id. at 7 (quoting Pet. Ex. 39 at 16-17).

        In 2020, Petitioner filed his second application for Social Security Disability benefits,
claiming an onset of disability of January 31, 2020, on advice of counsel. Pet. Memo. at 7
(citing Pet. Ex. 62). A hearing was held in May 2023, and a decision issued on June 28, 2023,
partially favorable to Petitioner. Id. at 8. The Administrative Law Judge found Petitioner
disabled as of December 31, 2022, the date on which he was last insured. Id. (citing Pet. Ex. 62
at 7). As of December 31, 2022, Petitioner was 54 years and five months, and thus, he was
found to be disabled by virtue of his “advanced age.” Id. at 9 (citing Pet. Ex. 62 at 1, 22).

        Based on the two decisions issued by the Social Security Administration, Petitioner
argues that he “could not function as a pharmacist because of the anxiety produced by Bell’s
palsy.” Pet. Memo. at 10. Petitioner also asserts that his “loss of employment as a pharmacist
was directly linked to his Bell’s palsy.” Id. Even assuming that Petitioner could perform the
jobs enumerated in the Social Security decisions (general office clerk, shipping checker, etc.),
“[t]hese jobs pay significantly less than a pharmacist position.” Id. at 11.

         Petitioner agrees that the question here is “whether [Petitioner] has suffered an
impairment in his earning capacity because of his vaccine-related injury[,] . . .Bell’s palsy, [and]
its residual effects and complications.” Pet. Memo. at 9. He states that he must show that the
injury, and its effects and complications, are “a substantial factor leading to the loss.” Id. (citing
Shyface v. Sec’y Health & Hum. Servs., 165 F.3d 1344, 1352 (Fed. Cir. 1999) (“We adopt the
Restatement rule for purposes of determining vaccine injury, that an action is the ‘legal cause’ of
harm if that action is a ‘substantial factor’ in bringing about the harm, and that the harm would
not have occurred but for the action.”).

       In his reply brief, Petitioner suggests that Respondent “might be attempting to present an
apportionment argument.” Pet. Reply at 2. Petitioner states that the Federal Circuit has adopted
the Restatement 2nd of Torts, citing Shyface, and quotes the pertinent provision. 30 Id. (citing
Shyface, 165 F.3d at 1352). Assuming that Respondent is arguing that Petitioner’s lost wages


30
  Section 433A “Apportionment of Harm to Causes” in the Restatement states, “(1) Damages
for harm are to be apportioned among two or more causes where (a) there are distinct harms, or
(b) there is a reasonable basis for determining the contribution of each cause to a single harm.
(2) Damages for any other harm cannot be apportioned among two or more causes.”



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“might be apportioned between his proven vaccine injury and other, pre-existing conditions,”
Petitioner states that it is “Respondent’s burden to prove such an apportionment.” 31 Id. at 3.

       B.      Respondent’s Position

        Respondent asserts “[i]t is [P]etitioner’s burden under Section 11(e) of the Vaccine Act to
prove the damages he is seeking” and he “has failed to prove by preponderant evidence that he is
entitled to an award of lost earnings for his Bell’s palsy injury.” Resp. Response at 3.
Respondent noted a number of factors supporting his position.

       First, Respondent noted Petitioner did not return to see his neurologist for his Bell’s palsy
after November 2021. Resp. Response at 3.

         Next, regarding the opinion letters from Dr. Tariq, Petitioner’s psychiatrist from 2021 to
2023, attributing the cause of Petitioner’s inability to work to his Bell’s palsy, Respondent
suggests that “a more comprehensive review of the medical records reflects that [P]etitioner has .
. . other health conditions and has attributed his other medical ailments to his alleged inability to
work in the past.” Resp. Response at 4. For example, Respondent cites a letter written by
Petitioner on March 21, 2018, to the Social Security Administration, stating that he suffered from
“chronic lower and upper back problem[s], major anxiety and depression, spasms and pain from
Bell’s palsy, [s]pasms, pain and frequent bathroom use due to colorectal Sphincter pressure
despite . . . surgery done in 2010.” Id. (quoting Pet. Ex. 12 at 1). Petitioner reported back pain
since 2004, and “used to be a pharmacist but [could not] work secondary to the pain. . . . [H]e
also had some [gastrointestinal] issues and ha[d] a rectocele, which also cause[d] him a lot of
anxiety.” Id. (quoting Pet. Ex. 48 at 1) (citing Pet. Ex. 49 at 3; Pet. Ex. 14 at 2).

       As for Petitioner’s Social Security Disability finding in favor of awarding benefits,
Respondent states that it was not based on Petitioner’s Bell’s palsy but on Petitioner’s many
medical conditions, including “degenerative disc disease . . . , hernia, Bell’s palsy, depression,
and anxiety.” Resp. Response at 4 (citing Pet. Ex. 62 at 9). Moreover, Petitioner’s successful
Social Security Disability Application alleges his date of disability was January 31, 2020, over


31
   Section 433B “Burden of Proof” in the Restatement states, (1) Except as stated in Subsections
(2) and (3), the burden of proof that the tortious conduct of the defendant has caused the harm to
the plaintiff is upon the plaintiff. (2) Where the tortious conduct of two or more actors has
combined to bring about harm to the plaintiff, and one or more of the actors seeks to limit his
liability on the ground that the harm is capable of apportionment among them, the burden of
proof as to the apportionment is upon each such actor. (3) Where the conduct of two or more
actors is tortious, and it is proved that harm has been caused to the plaintiff by only one of them,
but there is uncertainty as to which one has caused it, the burden is upon each such actor to prove
that he has not caused the harm.” See also Walther v. Sec’y of Health & Hum. Servs., 485 F.3d
1146, 1151 (Fed. Cir. 2007) (“[F]or purposes of the causation analysis the petitioner is treated as
the equivalent of the tort plaintiff and the government is treated as the equivalent of the tort
defendant. . . . Thus, applying the Restatement to the Vaccine Act context, the petitioner
generally has the burden on causation, but when there are multiple independent potential causes,
the government has the burden to prove that the covered vaccine did not cause the harm.”).


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five years after the vaccination at issue. Id. at 4-5. And the Social Security Administration
found that Petitioner was not disabled until December 31, 2022, (at age 54 years and 5 months)
and only then because he met the requirement of “advanced age.” Id. at 5, 5 n.5 (citing Pet. Ex.
62 at 4-5, 22-23; Pet. Memo. at 9).

        Specific to Bell’s palsy, Respondent notes the Social Security Administration found there
was “no indication of any long-lasting effects of the use of his mouth or opening/closing of
eyelids.” Resp. Response at 5 (quoting Pet. Ex. 62 at 10). Further, “there [was] no mention
(medical evidence) [of Bell’s palsy] since January 2020 and [] no indication of any residuals
from it.” Id. (quoting Pet. Ex. 62 at 12). An impartial medical expert who provided testimony at
the disability hearing concluded “there [was] no diagnosis of a traumatic disorder in the
treatment records.” Id. (quoting Pet. Ex. 62 at 11, 16). Respondent concludes that the Social
Security Disability determination “is not dispositive on this proceeding and objectively,
[P]etitioner has ailments other than Bell’s palsy that have interfered with his ability to work.” Id.

VI.    LEGAL FRAMEWORK

        Compensation awarded pursuant to the Vaccine Act shall include “[f]or actual and
projected pain and suffering and emotional distress from the vaccine-related injury, an award not
to exceed $250,000.” § 15(a)(4). Additionally, compensation shall also include

       [a]ctual unreimbursable expenses incurred from the date of the judgment
       awarding such expenses and reasonable projected unreimbursable expenses which
           (i) result from the vaccine-related injury for which the [P]etitioner seeks
           compensation,
           (ii) have been or will be incurred by or on behalf of the person who suffered
           such injury, and
           (iii)(I) have been or will be for diagnosis and medical or other remedial care
           determined to be reasonably necessary, or
           (II) have been or will be for rehabilitation, developmental evaluation, special
           education, vocational training and placement, case management services,
           counseling, emotional or behavioral therapy, residential and custodial care and
           service expenses, special equipment, related travel expenses, and facilities
           determined to be reasonably necessary.

§ 15(a)(1)(A).

        Relevant to lost wages, the Vaccine Act provides that “[i]n the case of any person who
has sustained a vaccine-related injury after attaining the age of 18 and whose earning capacity is
or has been impaired by reasons of such person’s vaccine-related injury for which compensation
is to be awarded, compensation for actual and anticipated loss of earnings determined in
accordance with generally recognized actuarial principles and projections.” § 15(a)(3)(A). Such
calculations must be undertaken in a “cautious manner.” Brown v. Sec’y of Health & Hum.
Servs., No. 00-0182V, 2005 WL 2659073, at *6 (Fed. Cl. Spec. Mstr. Sept. 21, 2005).




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        Petitioner bears the burden of proof, by preponderant evidence, with respect to each
element of compensation requested. Brewer v. Sec’y Health & Hum. Servs., No. 93-0092V,
1996 WL 147722, at *22-23 (Fed. Cl. Spec. Mstr. Mar. 18, 1996); see also § 13(a)(1)(A).
Further, compensation for anticipated loss of earnings may not be based on speculation. J.T. v.
Sec’y of Health & Hum. Servs., No. 12-618V, 2015 WL 5954352, at *7 (Fed. Cl. Spec. Mstr.
Sept. 17, 2015) (noting § 15(a)(3)(A) “does not envision that ‘anticipated loss of earnings’
includes speculation”), mot. for rev. den’d, 125 Fed. Cl. 164 (2016). Failure to provide
preponderant evidence to support a finding that a petitioner’s earning capacity has been impaired
because of a vaccine injury or such a claim based on speculation without preponderant evidence
will result in denial of a lost wage claim. See Dillenbeck v. Sec’y Health & Hum. Servs., No.
17-428V, 2019 WL 4072069, at *12-13 (Fed. Cl. Spec. Mstr. July 29, 2019), aff’d in part and
remanded, 147 Fed. Cl. 131 (2020).

        Substantively, claims of past lost wages require examination of circumstances under
which lost wages arose. Where a petitioner has been terminated from a position, weighing
evidence for past lost wages considers whether a petitioner could have reasonably expected to
continue work in the same manner and position but for the vaccine injury. See Dillenbeck, 2019
WL 4072069 at *10-11. Documentation through medical records, release to work documents
from physicians, and the nature of the job are useful in this determination. See id. at *9-12. If a
petitioner has returned to work after a vaccine injury, claims for lost wages arising from a
differential in pay must be due to the vaccine injury, such as physical limitations requiring a
change in type of work. See id. at *10-13.

        Claims of future lost wages require additional examination of the length of time a
petitioner could be reasonably expected to work beyond the present day. Factors independent of
and dependent on the petitioner should be considered in the particulars of the situation. In
Dillenbeck, changes in licensing law, petitioner’s performance reviews prior to the vaccine
injury, and petitioner’s actual ability to secure a similar position contributed to the determination
of whether a petitioner could have maintained a position into the future indefinitely. See
Dillenbeck, 2019 WL 4072069 at *12 (denying future lost wages based on petitioner’s lack of
license required by a change in law for her past position, several negative performance reviews
in her past position, and displayed ability to work and secure similar paying positions after her
vaccine injury).

        Evidence to support claims of past and future lost wages includes documentation of
wages affected by the vaccine injury such as income, tax, or benefit documents. Documentation
of unpaid time, leave, or reductions in salary are expected in establishing a claim of lost wages.
See, e.g., Bruegging v. Sec’y Health & Hum. Servs., No. 17-0261V, 2019 WL 2620957, at *10
(Fed. Cl. Spec. Mstr. May 13, 2019); Dillenbeck, 2019 WL 4072069 at *110-13.

        Furthermore, speculation around planned future endeavors should not be used in
determining a petitioner’s claim of future lost wages. J.T., 2015 WL 5954352, at *7, *10-12
(denying speculative future lost wages based on petitioner’s claim that his vaccine injury
prevented him from starting a new professional endeavor he planned to undertake). This informs
the notion that determinations for lost wages must be based on the general work life expectancy
of an uninjured individual, not the petitioner’s expectancy. Brewer, 1996 WL 147722, at *25



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(citing Edgar v. Sec’y Health & Hum. Servs., 989 F.2d 473 (Fed. Cir. 1993)). Basing claims of
future wages on a petitioner’s own expectancies that differ from the generally accepted work life
expectancy of an individual would likely be speculative, and not calculated in a “cautious
manner.” Brown, 2005 WL 2659073, at *6.

VII.   ANALYSIS

        Petitioner seeks an award for loss of earnings from the onset of his Bell’s palsy to
present. While the undersigned finds there is not preponderant evidence to support such an
award, there is preponderant evidence of lost wages for a brief period after the onset of
Petitioner’s vaccine related condition.

       A.      Petitioner Is Entitled to Compensation for Loss of Earnings from October 6,
               2014 to October 17, 2014

        The undersigned finds that Petitioner has proven by preponderant evidence that his Bell’s
palsy resulted in his inability to work from October 6 32 until October 17, 2014. This finding is
based on the contemporaneous medical records by Petitioner’s neurologist, Dr. Mukardamwala.

        The contemporaneous records show that Petitioner received the vaccination at issue on
October 2, 2014. On October 4, he was unable to close his left eye and had left-sided facial
numbness. He was diagnosed with Bell’s palsy. Upon request, Dr. Mukardamwala signed
Petitioner’s leave from work form. On October 17, Petitioner returned to see Dr.
Mukardamwala, who noted that Petitioner was gradually improving. Dr. Mukardamwala’s
assessment included anxiety. Dr. Mukardamwala told Petitioner that his symptoms were
improving, and Petitioner was instructed that “he may return to work.” Pet. Ex. 3 at 4.

        It is reasonable to interpret Dr. Mukardamwala’s records summarized above to show that
Petitioner’s ability to work as a pharmacist was impaired during his acute symptoms of Bell’s
palsy. On October 17, however, Dr. Mukardamwala found that Petitioner was improved and
could return to work. Dr. Mukardamwala also assessed Petitioner with anxiety on that date.
However, it is reasonable to find that Dr. Mukardamwala’s diagnosis of anxiety did not impair
Petitioner’s ability to work, since he instructed Petitioner that he could return to work.

        There is no evidence from any other contemporaneous health care provider during this
time frame documenting that Petitioner was unable to work due to his Bell’s palsy, or his
anxiety, panic attacks, or PTSD. Petitioner’s treating neurologist assessed Petitioner’s condition
and specifically opined that Petitioner was gradually improving and that he could return to work
on October 17, 2014. There is no other contemporaneous evidence cited by Petitioner, or
included in Petitioner’s contemporaneous records, to show that any health care provider opined
that Petitioner was not able to work after October 17, 2014.



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  Although he was experiencing the acute symptoms of Bell’s palsy, Petitioner worked on
October 4, 2014 and October 5, 2014. See Pet. Ex. 15 at ¶¶ 2-3. Therefore, the undersigned uses
the date of October 6 as the beginning date that he was unable to work.


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         Medical records, specifically contemporaneous medical records, are presumed to be
accurate and generally “warrant consideration as trustworthy evidence.” Cucuras v. Sec’y of
Health & Hum. Servs., 993 F.2d 1525, 1528 (Fed. Cir. 1993). Greater weight is typically given
to contemporaneous records. Vergara v. Sec’y of Health & Hum. Servs., No. 08-882V, 2014
WL 2795491, at *4 (Fed. Cl. Spec. Mstr. May 15, 2014) (“Special Masters frequently accord
more weight to contemporaneously-recorded medical symptoms than those recorded in later
medical histories, affidavits, or trial testimony.”). The weight afforded to contemporaneous
records is due to the fact that they “contain information supplied to or by health professionals to
facilitate diagnosis and treatment of medical conditions. With proper treatment hanging in the
balance, accuracy has an extra premium.” Cucuras, 993 F.2d at 1528.

        The undersigned notes that her finding of Petitioner’s impaired ability to work is shorter
than the time frame of disability found by Petitioner’s short term disability carrier, Unum. On
October 7, 2014, Petitioner filed a claim with Unum. His last day of work was October 5, and
benefits were approved through November 14, 2014. After that, the claim was “closed because
there was no support for restrictions and limitations beyond that date.” Pet. Ex. 66 at 21.

        Unum’s records show that Dr. Mukardamwala documented that Petitioner’s Bell’s palsy
was improved by November 4, 2014. And Unum noted that Petitioner’s chiropractor
documented that on November 14, 2014, Petitioner’s Bell’s palsy was improved by 50%. Unum
concluded that the records did not support “restrictions and limitations due to Bell’s palsy and
neck pain” that prevented Petitioner from “performing [his] regular occupation on a full time
basis” after November 14, 2014. Pet. Ex. 66 at 22. The reasons for Unum’s decision to
extended benefits beyond October 17 to November 14, 2014 are not known. Regardless, the
undersigned is not bound by Unum’s findings. See Hanlon v. Sec’y of Health & Hum. Servs., 40
Fed. Cl. 625, 630 (1998), aff’d, 191 F.3d 1344 (Fed. Cir. 1999).

        Moreover, the undersigned finds the contemporaneous medical records of Dr.
Mukardamwala to be more persuasive than the conclusions reached by Unum. Dr.
Mukardamwala was Petitioner’s treating neurologist, who examined and evaluated Petitioner,
and who had specialized knowledge in treating patients with Bell’s palsy and its residual effects.
Further, Dr. Mukardamwala evaluated Petitioner and specifically found that Petitioner could
return to work on October 17, 2014.

       B.      Petitioner Has Not Shown by Preponderant Evidence That His Bell’s Palsy
               or Any Residual Effects Resulted in an Inability to Work After October 17,
               2014

        As described above, Dr. Mukardamwala found that Petitioner could return to work on
October 17, 2014. Petitioner next saw Dr. Mukardamwala November 4, 2014. At that visit,
Petitioner reported that since receiving a nerve block at the prior visit, “his pain [was] better.”
Pet. Ex. 3 at 6. He also reported improvement in his other symptoms. Physical examination
confirmed improvement. There is no indication in the note on November 4, 2014 that Petitioner
was unable to work as a pharmacist.




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        Petitioner returned to see Dr. Mukardamwala on January 5, 2015. At that visit, he
reported that he began having panic attacks before his last visit (November 4, 2014). He also
reported being anxious, depressed, and angry. Dr. Mukardamwala’s assessment was “[l]eft
Bell’s palsy,” “[p]ossible anxiety/panic attacks,” “[i]nsomnia,” and “[n]ightmares - ?
[p]arasomnia.” Pet. Ex. 3 at 7. However, Dr. Mukardamwala did not opine or state that
Petitioner’s anxiety/panic episodes, insomnia, depression, or anxiety were caused by Petitioner’s
Bell’s palsy, or that these conditions were secondary to Bell’s palsy, or residual effects of Bell’s
palsy. Even assuming that Petitioner’s anxiety/panic episodes, insomnia, depression, and anxiety
were the sequelae of his Bell’s palsy, Dr. Mukardamwala did not suggest that Petitioner was
unable to work due to these problems.

         At the visit on January 5, 2015, Petitioner told Dr. Mukardamwala that he had not yet
returned to work, but that he wanted to “go back to work with shorter shifts.” Pet. Ex. 3 at 7.
Dr. Mukardamwala provided the requisite paperwork so that Petitioner could work eight-hour
shifts, as opposed to longer shifts. 33 The record from this visit evidences Petitioner’s desire to
return to work. There is no indication from the record that either Dr. Mukardamwala or
Petitioner thought Petitioner could not or should not return to work, or work full-time, because of
his Bell’s palsy or because of any mental health or other condition. Dr. Mukardamwala did not
impose any restrictions or limitations on Petitioner’s employment, other than he work no longer
than eight hours per shift. And Petitioner does not argue that an eight-hour shift limited his
ability to work full-time.

        Petitioner returned to work on January 11, 2015. And he worked throughout all of 2015,
and until March 2016 when he was terminated. There is no medical record, doctor’s note, or
other contemporaneous record placing any limitations or restrictions on Petitioner’s ability to
work, other than the shift limit of eight hours by Dr. Mukardamwala on January 5, 2015.

        On referral from Dr. Mukardamwala, Petitioner saw Dr. Qureshi, a psychiatrist, in March
2015. Dr. Qureshi’s note describes Petitioner’s anxiety, depression, nightmares, and sleep
disturbances. Medication was prescribed to treat these conditions. There is no documentation to
suggest that Petitioner thought he was unable to work. And Dr. Qureshi did not opine that
Petitioner was unable to work or place any limitations or restrictions on his employment.

        Dr. Qureshi saw Petitioner several times in 2015, and notes from each of the visits
describe Petitioner’s mental health conditions. But again, there is no documented concern about
Petitioner’s ability to work or other evidence to suggest that Petitioner’s mental health conditions
impaired or limited his ability to work as a pharmacist.

        Based on the contemporaneous evidence related to Petitioner’s employment, his medical
records, including the records of his treating neurologist and psychiatrist, the undersigned finds
that Petitioner has failed to prove by preponderant evidence that he was unable to work after the



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  CVS employment records show that there were months from 2004 forward where Petitioner’s
hours were variable. Pet. Ex. 63 at 10-68. Prior to his vaccination, the length of his shifts is not
clear.


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date that he was released to work by Dr. Mukardamwala on October 17, 2014, and from that day
forward in 2014, and throughout all of 2015.

       After October 5, 2014, Petitioner did not return to work until January 11, 2015.
However, for all of the reasons described above, the undersigned finds that there is no evidence
to support a finding that he was unable to work from October 17, 2014, until he did return on
January 11, 2015.

        The undersigned also finds that Petitioner’s Bell’s palsy and any residual effects of that
condition did not prevent Petitioner from working in his professional capacity as a pharmacist in
2015. The records show that he did work as a pharmacist throughout all of 2015. And there is
no contemporaneous evidence from his treating physicians in 2015 to show or suggest that
Petitioner was unable to work or had any limitations or restrictions laced on his employment as a
pharmacist.

        Moving to 2016, Petitioner’s employment records show that on March 12, 2016, he was
terminated for taking leave that was not approved. Prior to termination, Petitioner had a pattern
of taking leave for health reasons without first obtaining approval, resulting in suspensions. This
occurred on May 21, 2013, May 6, 2014, October 6, 2014, and March 11, 2016, the last of which
resulted in his termination. Petitioner’s employment file does not include any documentation
that would suggest he was terminated for medical or mental health reasons or because he was not
able to perform his duties and responsibilities as a pharmacist.

        Moreover, Petitioner saw Dr. Qureshi twice in 2016. On January 13, 2016, Petitioner
reported feeling less anxious and depressed. There is no mention of any problems or concerns
related to Petitioner’s employment. At his next visit, on April 13, 2016, Petitioner reported that
he was “doing fine.” Pet. Ex. 8 at 8. He was “undergoing [a] jury trial for divorce,” “stressed
out financially[,] and [was] also taking care of his [two] year old daughter.” Id. He was “angry
and frustrated at his wife” who “initially ran away with his daughter. Id. However, his
medications were working well. There is no mention that he had been terminated from his job.
Petitioner did not return to see Dr. Qureshi, or anyone else at the practice for the remainder of
2016.

        There is no contemporaneous evidence from 2016 establishing that Petitioner was unable
to work as a pharmacist in 2016 due to his Bell’s palsy, or his mental health conditions of
anxiety, depression, panic attacks, nightmares, PTSD, or for any other reason. Therefore, the
undersigned finds that Petitioner has failed to prove by preponderant evidence that he was unable
to work in 2016 due to his Bell’s palsy or mental health conditions. The undersigned also finds
that the evidence shows that Petitioner’s job was terminated due to his failure to obtain approval
for leave, and not due to his Bell’s palsy or any residual effects of his Bell’s palsy.

       Petitioner’s Bell’s palsy occurred in October 2014. His condition significantly improved
over the course of the first year following his illness. He worked most of 2015, and part of 2016.
He was terminated due to failure to obtain approval for leave, and not due to Bell’s palsy, any
residual effect of Bell’s palsy, or any mental health conditions. He was under the care and
treatment of a psychiatrist who provided regular evaluations and whose records do not document



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any concerns about his ability to work as a pharmacist. For these reasons, the undersigned finds
that Petitioner has failed to provide preponderant evidence that he was unable to work in his
capacity as a pharmacist in 2016.

       Over time, it becomes increasingly difficult to associate Petitioner’s Bell’s palsy, and its
sequalae, and Petitioner’s mental health conditions, with his alleged inability to work as a
pharmacist, especially given the difficult circumstances Petitioner faced in 2016, including going
through a divorce, custody proceedings, and caring for a young daughter as a single parent.

        Claims for past lost wages require examination of the circumstances under which the lost
wages arose. When a petitioner has been terminated from employment, weighing evidence of
past lost wages includes an evaluation of documents from medical records and employment
records to discern whether a petitioner could have reasonably expected to work in the same
manner and position but for the vaccine injury. See Dillenbeck, 2019 WL 4072069, at *10-13.
Here, a thorough evaluation of the evidence establishes that Petitioner was released to return to
work less than two weeks after his vaccine injury. After that, he returned to work. He was seen
and treated regularly for his behavioral health issues and there is no suggestion that he was
unable to work due to his Bell’s palsy, or his behavioral health.

       C.      Evidence Created Later-in-Time Does Not Provide Persuasive Support for
               Petitioner’s Claim of Lost Wages

        In addition to contemporaneous records, Petitioner filed documents created later-in-time
to support his claim for lost wages. These include Petitioner’s medical records from 2017 to
2023. Petitioner’s medical records show that he continued to see his psychiatrist for his mental
health conditions, for follow-up evaluations, and medication adjustments. The records include a
few references to his prior episode to Bell’s palsy; generally, these are statements made by
Petitioner attributing his anxiety and other behavioral health conditions to his Bell’s palsy. But
there are no statements or opinions by Petitioner’s treating health care providers suggesting that
Petitioner was unable to work due to his Bell’s palsy or his mental health conditions.

        These later records also show that Petitioner had ongoing and significant medical
problems related to back pain, requiring treatment by pain management, and bowel urgency due
to his prior rectal fistula and related surgery. Petitioner also struggled as a single parent to care
for his young daughter, and he had a difficult time during the Covid pandemic, especially since
his daughter was at home and attended school at home in a remote classroom setting. Overall,
the later-in-time medical records establish that Petitioner experienced many challenges and
difficult circumstances from 2017 to 2023.

        The later records also include a remote telemedicine evaluation of Petitioner by Dr. Tariq
on January 13, 2023 with a chief complaint of “legal evaluation.” Pet. Ex. 59 at 2 (emphasis
omitted). The purpose of the visit was for Dr. Tariq to perform a “legal evaluation” of
Petitioner’s current mental status. Id. (emphasis omitted). The evaluation was done “in the
context of [Petitioner’s] lawyers wanting to talk to supervising provider about patient’s current
mental status.” Id. During the evaluation, Petitioner reported that his anxiety and other mental
health problems were caused by his episode of Bell’s palsy in 2014. Id. Dr. Tariq opined as to



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Petitioner’s diagnoses, which included depression, anxiety, and PTSD. Id. at 3. In the medical
records documenting the evaluation, Dr. Tariq did not offer an opinion about whether
Petitioner’s Bell’s palsy or its sequelae affected Petitioner’s ability to work as a pharmacist. See
id. at 2-4. Dr. Tariq also did not opine that more likely than not Petitioner’s mental health
conditions were the result of his Bell’s palsy. See id.

          Separate from the medical records, Petitioner filed two opinion letters (both dated
February 2, 2023) from Dr. Tariq about the evaluation he performed on January 13, 2023. In the
first letter, Dr. Tariq opined that Petitioner’s vaccination and his subsequent Bell’s palsy was
“the most important predisposing and precipitating factor in the etiology” of Petitioner’s
psychiatric symptoms. Pet. Ex. 57 at 2. In the second letter, Dr. Tariq opined that at Petitioner’s
“current level of function[,] it was not possible for [him] to safely and adequately perform work
duties as a [p]harmacist” or any “meaningful vocational duties in any capacity.” Pet. Ex. 58 at 2.

        The undersigned does not find Dr. Tariq’s 2023 opinions to be persuasive for several
reasons. First, the opinions of Dr. Tariq in January and February 2023 relate to Petitioner’s
“current mental status” which necessarily is over eight years after his episode of Bell’s palsy.
During that eight-year period, Petitioner went back to work for over one year, was terminated by
CVS, was involved in custody and divorce proceedings, obtained custody of his young daughter,
began taking care of his young daughter as a single parent, had progressive back pain requiring
pain management treatment, had significant rectal sphincter problems, and experienced other
health problems. The passage of time, as well as these life events, likely impacted Petitioner’s
mental and physical well-being. Therefore, Dr. Tariq’s opinions based on Petitioner’s current
condition in 2023 are not relevant to the question of Petitioner’s ability to work after his episode
of Bell’s palsy and its sequalae with an onset in October 2014.

        Further, although Dr. Tariq may have been Petitioner’s physician beginning in 2021, he
did not have any personal knowledge or information about Petitioner prior to that time.
Moreover, it is not clear that Dr. Tariq personally evaluated or examined Petitioner in 2021 and
2022. For example, on August 13, 2021, Petitioner was seen by Jayma Mickler, PAC. Although
Dr. Tariq signed off as the supervising physician, it is not clear that he saw Petitioner. See Pet.
Ex. 46 at 67-68. On November 9, 2021, Petitioner was seen by a different provider, and a
different physician signed off as the supervising physician. See id. at 69-71. In 2022, Petitioner
saw Jayma Mickler, PAC, four times, and Dr. Tariq signed off each visit, but again, it is not
known whether Dr. Tariq ever saw Petitioner at these visits. See Pet. Ex. 55 at 2-14. The only
time that the records show that Dr. Tariq personally evaluated Petitioner was the remote
telemedicine interview in January 2023. See Pet. Ex. 57 at 1-2; Pet. Ex. 58 at 1-2; Pet. Ex. 59 at
2-4.

        Another problem with Dr. Tariq’s opinion letters is that they are inconsistent with his
own medical records. None of Petitioner’s records from Dr. Tariq’s office in 2021 through 2022
document concerns about Petitioner’s ability to work. Even in Dr. Tariq’s medical record dated
January 13, 2023, there is no assessment, evaluation, or reference to Petitioner’s employment or
inability to work. The medical record history does include Petitioner’s report that “the facial
palsy, through the symptoms it caused [] including head and neck pain, change in appearance etc.
has impaired him to the point that he has no meaningful ability to function socially or



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occupationally.” Pet. Ex. 59 at 2. However, Dr. Tariq does not state any opinion about whether
Petitioner could work. And Dr. Tariq’s mental examination revealed that Petitioner’s thought
process was “[l]ogical and linear,” his short- and long-term memory were normal, his attention
span was normal, and insight and judgment were fair. Id. at 3.

        Dr. Tariq’s opinions are also conclusory. He did not document physical or mental
examination findings, diagnostic or testing results, or other data to support a conclusion that
Petitioner was not able to work. Dr. Tariq did conduct an evaluation of Petitioner’s depression,
but he did not opine that Petitioner’s depression prevented him from being employed. Special
masters consistently reject “conclusory expert statements that are not themselves backed up with
reliable scientific support.” Kreizenbeck v. Sec’y of Health & Hum. Servs., No. 08-209V, 2018
WL 3679843, at *31 (Fed. Cl. Spec. Mstr. June 22, 2018), mot. for rev. den’d, decision aff’d,
141 Fed. Cl. 138 (2018), aff’d, 945 F.3d 1362 (Fed. Cir. 2020).

        Moreover, Dr. Tariq’s opinion letters do not acknowledge the facts and circumstances of
Petitioner’s life over the prior eight years. Dr. Tariq did not review employment records. He did
acknowledge that Petitioner had been terminated from employment for failing to obtain approval
for leave. He did not document or take into consideration that Petitioner had returned to work
after his Bell’s palsy episode. He did not address the difficult circumstances of going through
custody and divorce proceedings or being the single parent of a young daughter. He did not
reference Petitioner’s chronic back pain, necessitating pain management. He did not address
Petitioner’s other health problems, such as his issues with bowel urgency due to rectal sphincter
problems. And he did not consider how difficult the Covid pandemic was for Petitioner.

        Generally, treating physician statements are typically “favored” as treating physicians
“are likely to be in the best position to determine whether a ‘logical sequence of cause and effect
show[s] that the vaccination was the reason for the injury.’” Capizzano v. Sec’y of Health &
Hum. Servs., 440 F.3d 1317, 1326 (Fed. Cir. 2006) (quoting Althen v. Sec’y of Health & Hum.
Servs., 418 F.3d 1274, 1280 (Fed. Cir. 2005)). However, no treating physician’s views bind the
special master, per se; rather, their views are carefully considered and evaluated. § 13(b)(1);
Snyder, 88 Fed. Cl. at 746 n.67. “As with expert testimony offered to establish a theory of
causation, the opinions or diagnoses of treating physicians are only as trustworthy as the
reasonableness of their suppositions or bases.” Welch v. Sec’y of Health & Hum. Servs., No.
18-494V, 2019 WL 3494360, at *8 (Fed. Cl. Spec. Mstr. July 2, 2019). An opinion by a treating
physician that is not supported by a factual basis or other evidence is conclusory in nature. See
Robertson v. Sec’y of Health & Hum. Servs., No. 18-554V, 2022 WL 17484980, at *17 (Fed. Cl.
Spec. Mstr. Dec. 7, 2022); Cedillo v. Sec’y of Health & Hum. Servs., 617 F.3d 1328, 1347 (Fed.
Cir. 2010).

        Additionally, Dr. Tariq’s opinions are less persuasive as they were not made
contemporaneously and were prepared for the purposes of litigation. See Zumwalt v. Sec’y of
Health & Hum. Servs., No. 16-994V, 2019 WL 1953739, at *19 (Fed. Cl. Spec. Mstr. Mar. 21,
2019) (rejecting opinion from a treating provider when he presented an opinion two-and-one-half
years after treatment and after litigation was initiated), mot. for rev. den’d, 146 Fed. Cl. 525
(2019); Vergara, 2014 WL 2795491, at *4 (“Special Masters frequently accord more weight to
contemporaneously-recorded medical symptoms than those recorded in later medical histories,



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affidavits, or trial testimony.”); Campbell ex rel. Campbell v. Sec’y of Health & Hum. Servs., 69
Fed. Cl. 775, 779 (2006) (“It is, of course, true that where later testimony conflicts with earlier
contemporaneous documents, courts generally give the contemporaneous documentation more
weight.”); Ricci v. Sec’y of Health & Hum. Servs., 101 Fed. Cl. 385, 391 (2011) (“Medical
records from years later, merely chronicling a timeline between vaccination and injury, are not
worthy of the same consideration as contemporaneous records.”).

        Regarding Petitioner’s affidavits and declarations, particularly those statements related to
his claim for lost wages, the undersigned generally finds these express Petitioner’s view of his
circumstances. Some of Petitioner’s statements, however, are inconsistent with
contemporaneous records, which diminishes their persuasive value. For example, in his initial
affidavit executed in 2017, Petitioner averred that in the three years prior to vaccination on
October 2, 2014, he was in “good health and [] had not needed to see a health care provider.”
Pet. Ex. 9 at ¶ 4. However, his employment records show that Petitioner took a two-month leave
of absence for health reasons from May to July 2013, and another two months leave of absence
for health reasons from May to July 2014.

        Because Petitioner’s affidavits and declarations are inconsistent with and contradicted by
the contemporaneous medical records, it is reasonable to give greater weight to the
contemporaneous medical records. See Cucuras, 993 F.2d at 1528 (noting that “the Supreme
Court counsels that oral testimony in conflict with contemporaneous documentary evidence
deserves little weight”); Doe/70 v. Sec’y of Health & Hum. Servs., 95 Fed. Cl. 598, 608 (2010);
Stevens v. Sec’y of Health & Hum. Servs., No. 90-221V, 1990 WL 608693, at *3 (Cl. Ct. Spec.
Mstr. Dec. 21, 1990) (noting that “clear, cogent, and consistent testimony can overcome such
missing or contradictory medical records”); Vergara, 2014 WL 2795491, at *4 (“Special Masters
frequently accord more weight to contemporaneously-recorded medical symptoms than those
recorded in later medical histories, affidavits, or trial testimony.”). This finding also extends to
the lay witness affidavits and testimony. Other special masters have been faced with similar
situations and found the contemporaneous medical records more persuasive than the affidavits
and testimonies of lay witnesses. See, e.g., Rote v. Sec’y of Health & Hum. Servs., No. 90-
036V, 1992 WL 165970, *5 (Cl. Ct. Spec. Mstr. July 1, 1992) (finding the lay witness testimony
insufficient to overcome the weight of the contemporaneous medical records); Bergman v. Sec’y
of Health & Hum. Servs., No. 90-1252V, 1992 WL 78671, *4 (Cl. Ct. Spec. Mstr. Mar. 31,
1992) (same); Daiza v. Sec’y of Health & Hum. Servs., No. 90-1188V, 1992 WL 59709, *4 (Cl.
Ct. Spec. Mstr. Mar. 5, 1992) (same).

        The undersigned finds that Petitioner’s affidavit stating that he was in good health for the
three years prior to his vaccination is inconsistent with his employment records which show that
in both 2013 and 2014 (prior to vaccination), he took significant leave from employment for
health reasons.

        Further, Petitioner’s employment records evidencing the fact that Petitioner took leave
for medical reasons in both 2013 and 2014 calls into question Petitioner’s baseline health and
mental health condition prior to vaccination. While there is no suggestion that Petitioner had
Bell’s palsy prior to vaccination in any of his medical records, these extended leaves call into
question the medical/mental health conditions which necessitated leave. They also call into



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question whether Petitioner filed his complete pre-vaccination medical/mental health care
records.

        Lastly, Petitioner filed his relevant Social Security Administrative Disability
Applications, filings, and decisions issued in 2019 and 2023. Both decisions were issued later in
time than Petitioner’s episode of Bell’s palsy. As such, the findings and rulings issued in them
do not reflect the events of 2014 or 2015, or speak to Petitioner’s ability to work before, during,
or after his Bell’s palsy. See, e.g., Vergara, 2014 WL 2795491, at *4 (“Special Masters
frequently accord more weight to contemporaneously-recorded medical symptoms than those
recorded in later medical histories, affidavits, or trial testimony.”).

        Further, the Social Security decisions issued in 2019 and 2023 are not binding on the
undersigned. Reinhardt v. Sec’y of Health & Hum. Servs., No. 17-1257V, 2022 WL 2303801, at
*4, *7 (Fed. Cl. Spec. Mstr. Apr. 20, 2022) (“[D]ecisions of Social Security Administrative Law
Judges are not binding on the special masters or judges of this federal court.”). Nor is a “Social
Security determination that [a petitioner] is disabled . . . binding on the undersigned.” Perrin v.
Sec’y of Health & Hum. Servs., No. 99-562V, 2004 WL 2830169, at *2 (Fed. Cl. Spec. Mstr.
Nov. 22, 2004) (citing Tester Corp. v. U.S., 1 Cl. Ct. 370, 374-75 (1982) (“[I]t is a well settled
principle that while administrative Board decisions concerning legal interpretations may be given
some weight, they are clearly not binding on this court.”)).

        Although these decisions are not binding on the undersigned, they have been reviewed.
In the 2019 decision, Judge Bennett denied Petitioner’s application for disability benefits.
Relevant to Bell’s palsy, Judge Bennett noted that in October 2014, after his episode of Bell’s
palsy, Petitioner was unable to close his left eye fully, had numbness in his cheeks, but that
otherwise, the motor function of his face was normal. Judge Bennett found that by September
2015, Petitioner’s Bell’s palsy had resolved. Judge Bennett also wrote that “there was evidence
of recurrent Bell’s palsy in August 2017,” 34 but “no evidence of any ongoing complications.”
Pet. Ex. 39 at 7.

        During the Social Security hearing preceding the 2019 decision, Dr. Oguejiofor, an
impartial medical expert, testified that Petitioner had “no exertional limitations related to Bell’s
palsy.” Pet. Ex. 39 at 8. He also opined that Petitioner’s Bell’s palsy was not severe, and
therefore it was not a “medically determinable impairment” that would be “expected to interfere
with the individual’s ability to work.” Id. Dr. Khushalani, a board-certified psychiatrist and
impartial medical expert, opined that Petitioner’s “mental impairments” did not satisfy the
required criteria to show that he was unable to work. Id. at 9.

        Petitioner argues that Judge Bennett found that he was unable to work as a pharmacist
due to anxiety and depression, causing his impaired “ability to deal with stressors, particularly
people.” Pet. Memo. at 6-7 (quoting Pet. Ex. 39 at 16). Petitioner specifically relies on


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  Petitioner has not filed any medical records in this case that show that he had a recurrence of
his Bell’s palsy in 2017. It is not clear whether he was relying on Dr. Kirkwood’s note that
Petitioner “continue[d] to have some palsy on the left side of his face,” and that it affected his
eye. Pet. Ex. 14 at 2. However, Dr. Kirkwood did not classify this as a recurrence.


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vocational testing that resulted in a determination that he was “unable to perform past relevant
work as actually or generally performed,” but finding that he could perform other jobs (general
office, shipping clerk, etc.). Id. at 7 (quoting Pet. Ex. 39 at 16). This finding, according to
Petitioner, supports a claim for the difference in what Petitioner could earn in those types of jobs
as compared with his wages as a pharmacist.

        The undersigned disagrees with Petitioner’s interpretation. The 2019 decision found
Petitioner had severe impairments including “degenerative disc disease of the lumbar spine[]
[and] depression and anxiety.” Pet. Ex. 39 at 7. However, the decision did not find that
Petitioner’s depression and anxiety were caused by his 2014 episode of Bell’s palsy, or that his
mental health alone resulted in his inability to perform past relevant work. More importantly, the
objective of the finding was not to determine whether Petitioner could work as a pharmacist after
his Bell’s palsy episode in 2014, or his behavioral health issues that arose in late 2014 and 2015.
And the decision specifically did not take into consideration the fact that Petitioner worked for
over a year (January 2015 to March 2016) after his Bell’s palsy episode, and after the onset of
mental health conditions, or that he was able to work as a pharmacist while receiving medical
and mental health treatment. Thus, the undersigned finds that any findings or rulings issued in
the 2019 decision related to Petitioner’s behavioral health issues which impacted his ability to
work as a pharmacist are not applicable here.

         The same problems apply to the Social Security decision issued in 2023, finding that
Petitioner was disabled effective December 31, 2022. A finding of disability in 2022, eight years
after Petitioner’s Bell’s palsy episode is too far removed from the relevant facts and
circumstances, especially considering all the changes that occurred over that time frame in
Petitioner’s life which impacted his medical and mental health and well-being, as well as his
ability to be employed as a pharmacist.

        Lastly, in the entitlement phase of this case, Petitioner filed expert reports as to causation.
The report by Dr. Kinsbourne touches on the issue of the residual effects of Petitioner’s Bell’s
palsy. Dr. Kinsbourne cited several medical articles which shows that Bell’s palsy can lead to
psychological dysfunction, which can dimmish quality of life, impair interpersonal relationships,
and lead to depression and anxiety. However, Dr. Kinsbourne’s opinion that Petitioner was
unable to work is not persuasive for the same reasons as Dr. Tariq’s opinions. Dr. Kinsbourne’s
opinion is inconsistent with the records of Petitioner’s contemporaneous treating physicians and
it does not account for the facts, including the fact that Petitioner did return to work and worked
for over a year before his termination. It is also conclusory. Like Dr. Tariq, Dr. Kinsbourne
offered no physical or mental examination findings, diagnostic or testing results, or other data to
support a conclusion that Petitioner was not able to work. Special masters consistently reject
“conclusory expert statements that are not themselves backed up with reliable scientific support.”
Kreizenbeck, 2018 WL 3679843, at *31.

        The undersigned does find, based on the contemporaneous medical records, Dr.
Kinsbourne’s expert opinion and the medical literature filed, which discussed the potential for
patients with Bell’s palsy to experience psychological dysfunction, including depression and
anxiety, that these conditions can be considered in awarding compensation for Petitioner’s pain
and suffering and emotional distress. However, Petitioner has not proved by preponderant



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evidence that his Bell’s palsy, or its residual effects, impaired his ability to work as a pharmacist
after October 17, 2014.

VIII. CONCLUSION

        For all the reasons discussed above, the undersigned finds that Petitioner is entitled to
past lost wages from October 6 through October 17, 2014. Petitioner is not entitled to any other
past or future loss of earnings.

       The undersigned notes that this Ruling contains considerable discussion of Petitioner’s
mental health conditions. Due to the nature of this information, Petitioner is encouraged to
consider filing a motion to redact the case caption to his initials.35

       Petitioner has filed several motions to obtain damage experts pending the outcome of this
Ruling. Given this Ruling, Petitioner’s motions to appoint damages experts are DENIED.

        Petitioner shall file a joint status report, by Friday, July 26, 2024, updating the Court on
the parties’ settlement discussions. This status report shall provide a detailed update on each
item of damages, indicating which items remain in dispute and how the parties are working
toward resolution.

       IT IS SO ORDERED.

                                                      s/Nora Beth Dorsey
                                                      Nora Beth Dorsey
                                                      Special Master




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  In accordance with Vaccine Rule 18(b), Petitioner has 14 days to identify and move to redact
medical or other information, the disclosure of which would constitute an unwarranted invasion
of privacy.


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